                           EXHIBIT A




Declaration of Omar Gonzalez-Pagan in support of
Motion to Exclude Expert Testimony of Dr. Paul W. Hruz
Kadel v. Folwell, No. 1:19-cv-00272-LCB-LPA (M.D.N.C.)

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1                     IN THE UNITED STATES DISTRICT COURT FOR

2                       THE MIDDLE DISTRICT OF NORTH CAROLINA

3

4            MAXWELL KADEL, et al.                             )

5                                                              )

6                  Plaintiffs                                  )

7                                                              ) Cause No.

8            vs.                                               ) 1:19-cv-00272-

9                                                              ) LCB-LPA

10           DALE FOLWELL, et al.                              )

11                                                             )

12                 Defendants                                  )

13

14                   VIDEO ZOOM DEPOSITION OF DR. PAUL W. HRUZ

15                        Taken on behalf of the Plaintiffs

16                                   September 29, 2021

17

18                               Sheryl A. Pautler, RPR,

19                           MO-CCR 871, IL-CSR 084-004585

20

21                 (The proceedings began at 9:31 a.m. Eastern.)

22

23

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1                  IN THE UNITED STATES DISTRICT COURT FOR
                    THE MIDDLE DISTRICT OF NORTH CAROLINA
2
          MAXWELL KADEL, et al.                                )
3                                                              )
                Plaintiffs                                     )
4                                                              ) Cause No.
          vs.                                                  ) 1:19-cv-00272-
5                                                              ) LCB-LPA
          DALE FOLWELL, et al.                                 )
6                                                              )
                Defendants                                     )
7
8                       VIDEO ZOOM DEPOSITION OF WITNESS, DR. PAUL
9                 W. HRUZ, produced, sworn, and examined on the
10                29th day of September, 2021, between the hours
11                of nine o'clock in the forenoon and eight
12                o'clock in the afternoon of that day, via
13                Veritext Zoom, before SHERYL A. PAUTLER, RPR,
14                Certified Shorthand Reporter within and for the
15                State of Illinois and Certified Court Reporter
16                within and for the State of Missouri, in a
17                certain cause now pending before the United
18                States District Court for the Middle District
19                of North Carolina, wherein MAXWELL KADEL, et
20                al. are the Plaintiffs, and DALE FOLWELL, et
21                al. are the Defendants.
22
23
24
25

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1                           A P P E A R A N C E S
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1                Q.    Okay.     What is a wet lab?
2                A.    A wet lab is really designating somebody
3         that does hands-on research usually with either
4         in-vitro or in-vivo studies, as opposed to a dry lab
5         which mostly does literature searches or computer
6         programming or things that do not involve
7         experimentation with -- the reason the term comes,
8         from wet reagents like buffers and solutions and
9         bodily fluids.
10               Q.    Is your research primarily conducted in a
11        wet lab?
12               A.    My -- until recently the vast majority of
13        my research has been conducted in a wet lab.                       I have
14        participated on a few occasions in clinical trials
15        and have served as an adviser and consultant for
16        colleagues in those types of studies.
17               Q.    On how many occasions have you
18        participated in clinical trials?
19               A.    I never direct -- well, there was one
20        trial at Washington University where I was more
21        directly involved.          But all of -- as far as
22        principal investigator, all of my NIH funded
23        research and service as a principal investigator has
24        been done with my basic science research.
25               Q.    Would you agree that clinical trials is

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1         not your area of expertise?
2                      MR. KNEPPER:         Objection, form.
3                A.    I would not agree with that statement.                    I
4         would say that I -- in the course of the last decade
5         that -- as I've been required to investigate the
6         literature surrounding this particular issue of
7         treatment of gender dysphoria, I have developed
8         considerable expertise in clinical trials.                     And I
9         also have previously served on institutional review
10        boards.     I did that while I was a medical student,
11        where I reviewed the ethics of clinical trials
12        and -- and in other ways as well.                 So I would say
13        that covers my -- is included in my expertise as a
14        physician scientist.
15               Q.   (By Mr. Gonzalez-Pagan)              Earlier you stated
16        that the testimony you provided in the Bruce
17        deposition was truthful; is that right?
18               A.    To the best of my knowledge.
19               Q.    In the Bruce deposition, you were asked:
20        So clinical trials is in your area of expertise?
21                            And you answered:            That is correct.
22                     MR. KNEPPER:         Objection, form.
23               A.    Can you please read that statement again?
24        And it might even be helpful if we went to the area
25        of that deposition so I can see the entire context.

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1         But for now maybe you can just reread that just so I
2         understand what that statement said.
3                Q.   (By Mr. Gonzalez-Pagan)              Well, let's -- my
4         computer is not going to survive today.                    I
5         apologize.      It's on Page 39 of Exhibit 3.
6                A.    Is there an easy way to navigate directly
7         to a page without just scrolling down?
8                Q.    Unfortunately I don't believe so.                     It's
9         limitation of the medium.             I apologize for that.
10                     MR. KNEPPER:         I will confirm that.              Yeah.
11               I haven't found one either.
12               A.    Okay.     So which line are you -- I'm on
13        Page 39 right now.
14               Q.   (By Mr. Gonzalez-Pagan)              All right.         So on
15        line -- beginning on Line 23.
16               A.    Okay.
17               Q.    It says, Question:            I see.      So clinical
18        trials isn't your area of expertise?
19                             Answer:      That is correct.
20                             Did I read that correctly?
21               A.    Well, if you read the preceding lines, it
22        immediately followed a question about my direct
23        participation in clinical trials where I clearly
24        stated that there was only one clinical trial.                        That
25        was the one I just mentioned to you at Washington

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1          University.      And similar to what I had in this
2          deposition, my role in that project was relatively
3          minor.
4                               So in that sense, that does not mean
5          that I do not have knowledge and experience in the
6          context of clinical trials.              It only means I have
7          not directly participated in those clinical trials.
8          Context is important.
9                Q.     What is primary research?
10               A.     I'm sorry.        Primary research?
11               Q.     Yeah.
12               A.     Oh, so you're -- you're talking about the
13         difference between conducting experimental --
14         directly conducting experiments versus systematic
15         reviews and literature reviews of that nature.                     Is
16         that the distinction you're trying to get at?
17               Q.     Is that what you understand the
18         distinction between primary and secondary research
19         to be?
20                      MR. KNEPPER:         Objection, form.
21               A.     That would be one definition that I would
22         agree with, yes.
23               Q.    (By Mr. Gonzalez-Pagan)              Okay.     Would it be
24         okay if I were to adopt that definition, that
25         primary research refers to conducting experiments --

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1          experiments, etc. and not literature review or
2          metanalysis of existing data?
3                A.     For the purposes of this deposition, yes,
4          that is fine.
5                Q.     With that understanding, have you
6          conducted any primary research relating to gender
7          dysphoria?
8                       MR. KNEPPER:         Objection, form.
9                A.     So if you're asking whether I have
10         directly participated in clinical trials on gender
11         dysphoria, the answer is no.
12               Q.     (By Mr. Gonzalez-Pagan)              Have you
13         participated in cross-sectional studies related to
14         gender dysphoria?
15               A.     Again, I have not -- cross-sectional
16         studies, you're meaning retrospective reviews?
17               Q.     It could be longitudinal observational.
18         It could be cohort studies.              I guess my question
19         is -- let me back up.           Have you conducted any direct
20         research relating to gender dysphoria that is not
21         based on a literature review?
22                      MR. KNEPPER:         Objection, form.
23               A.     It would depend on what your definition of
24         conduct.     I have not physically myself done those
25         chart reviews or participated in the clinical

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1          setting.     My experience to what you had described as
2          primary research is limited to my role as associate
3          or assistant fellowship program director in
4          supervising my fellows, two of whom are doing what
5          we would -- what you would define as primary
6          research.
7                              I'm not the primary investigator, but
8          I do have a role in directing my fellows in doing
9          that research to make sure it's of the highest
10         quality and standards that we expect of all of our
11         fellows.
12               Q.    (By Mr. Gonzalez-Pagan)              When did you
13         resume supervision of the fellowship program?
14               A.     The official designation has happened
15         since the time I filed my initial curriculum vitae.
16         However, I have continually throughout my career
17         been involved in the fellowship program.
18                             One of the reasons I was reappointed
19         as the assistant program director was that it was
20         recognized that the area of scholarly research
21         needed somebody with my background to be able to
22         help the fellows to be able to select projects,
23         select mentors and conduct research in the most
24         rigorous manner.         And that was a shortcoming that
25         had developed since I had formally stepped away from

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1                A.     Okay.
2                Q.     Well, actually, let me -- let me check.
3          We've been going about an hour.                Would you like to
4          take a break right now or I can do this line of
5          questioning?        And we can --
6                A.     I'm actually doing quite well.                 I'd be
7          fine to keep pressing on.
8                       MR. GONZALEZ-PAGAN:            Sheryl, is that okay?
9                       THE COURT REPORTER:            That's fine.
10               Q.    (By Mr. Gonzalez-Pagan)              Okay.     So if we go
11         to the list of publications in your CV.                    Are you
12         with me?
13               A.     I am.
14               Q.     In the category of journal articles,
15         No. 48 is titled Deficiencies in Scientific Evidence
16         for Medical Management of Gender Dysphoria.                        Did I
17         read that correctly?
18               A.     Yes.     And I do see it here.
19               Q.     Is that one of your publications relating
20         to gender dysphoria?
21               A.     Yes, it is.        And it's probably one of the
22         most highly cited of the papers that I provided.
23               Q.     Sure.     Is that a publication based on any
24         primary research that you conducted?
25                      MR. KNEPPER:         Objection, form.

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1                A.     As which have defined it, no.                 It's a
2          review of the literature and critical appraisal of
3          the evidence.
4                Q.    (By Mr. Gonzalez-Pagan)              And that
5          publication is -- that -- sorry.                 That -- that
6          article was published in the Linacre Quarterly; is
7          that right?
8                A.     That is correct.
9                Q.     Is the Linacre Quarterly a scientific
10         publication?
11               A.     It is an ethics journal.               In fact, it's
12         the longest standing continuously published ethics
13         journal in the United States.
14               Q.     Who publishes the Linacre Quarterly?
15               A.     The NCBC.
16               Q.     What does the NCBC stand for?
17               A.     The National Catholic Bioethics Center.
18               Q.     Turn to 50.        Is this one of the other
19         publications you have relating to gender dysphoria?
20               A.     It's a letter to the editor.
21               Q.     So it's not -- this is not a publication
22         based on any primary research or scientific study
23         you have conducted?
24                      MR. KNEPPER:         Objection, form.
25               A.     As we have defined primary research, it is

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1          merely a presentation of -- of concerns about the
2          literature that has already been published.
3                Q.    (By Mr. Gonzalez-Pagan)              And as I
4          understand this letter to the editor is a commentary
5          on another publication, on another article; is that
6          right?
7                       MR. KNEPPER:         Objection, form.
8                A.     It includes more information than just the
9          article itself.        But, yes.
10               Q.    (By Mr. Gonzalez-Pagan)              And just pure
11         curiosity, I don't know the answer to this, but are
12         letters to the editor peer reviewed?
13               A.     This particular one was.               I recall when we
14         were submitting this, that we were asked to make
15         changes.     And I interpret that as being peer
16         reviewed.
17               Q.     Well, I just want to clarify.                 There's
18         peer review and then there's editorial review; is
19         that right?
20                      MR. KNEPPER:         Objection, form.
21               A.     There are numbers of different types of
22         review; that's correct.
23               Q.    (By Mr. Gonzalez-Pagan)              Okay.     As I
24         understand peer review to mean, it is a process of
25         objecting and circulating an author's work to the

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1          scrutiny of others who are experts in the same
2          field; is that right?
3                       MR. KNEPPER:         Objection.
4                A.     That's how it's generally defined yes.
5                Q.     Are you saying that the letter to the
6          editor was circulated to experts in the field before
7          it was published?
8                A.     I don't know the details of how the letter
9          was handled.       I only can say that when we submitted
10         it, we were asked to make revisions.                   It was
11         reviewed by individuals with understanding of the
12         area that was covered.            I don't know any more
13         details.     And that's the way generally peer review
14         occurs.     One is not usually told who actually
15         reviews the submission.
16               Q.     The next publication, it's -- it's No. 2
17         under book chapter.          It's titled Medical Approaches
18         to Alleviating Gender Dysphoria.                 And it's a chapter
19         in the book Transgender Issues in Catholic
20         Healthcare; is that right?
21               A.     That is correct.
22               Q.     Who publishes the book, Transgender Issues
23         in Catholic Healthcare?
24               A.     That was also the NCBC.
25               Q.     Is the book a peer-reviewed publication?

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1                A.     No.
2                Q.     Going to the next page, there's a list of
3          invited publications; is that right?
4                A.     Yes.
5                Q.     No. 6 is your article titled Growing
6          Pains, Problems With Pubertal Supression in Treating
7          Gender Dysphoria.
8                              Did I read that correctly?
9                A.     Yes, you did read it correctly.
10               Q.     Is this a peer-reviewed publication?
11               A.     It is not peer reviewed.               It was
12         editorially reviewed.
13               Q.     The growing pains article was published in
14         the New Atlantis; is that right?
15               A.     That is correct.
16               Q.     Is the New Atlantis a scientific journal?
17               A.     It is not considered a scientific journal
18         in the definition that we normally designate it.                       It
19         was -- it's a journal that provides more broad
20         readership to be able to distill topics of relevance
21         at an understandable level to the lay public.
22               Q.     At the time of the publication of the
23         article, who published the New Atlantis?
24               A.     Well, the New Atlantis.
25               Q.     Was the new Atlantis a publication of the

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1          ethics and public policy center?
2                       MR. KNEPPER:         Objection, form.
3                A.     I believe that may be true.                I didn't pay
4          much attention to that.
5                Q.    (By Mr. Gonzalez-Pagan)              Let's turn to
6          Exhibit No. 3, Page 44 -- sorry -- Page 46.
7                A.     I went too far.
8                Q.     You know what, it could probably be me.
9          It's a few later.         It's Page 49.          I do apologize.
10         Page 49.
11               A.     I'm still scrolling, so.               Okay.     I'm
12         there.
13               Q.     Okay.     Beginning on Line 13, it reads;
14         Question:     Okay.      And the New Atlantis was founded
15         by the Ethics and Public Policy Center; is that
16         right?
17                              Answer:      I believe that that is
18         correct.
19                              Question:       Okay.     And that's a center
20         dedicated to applying the Judeo-Christian moral
21         tradition to critical issues of public policy; is
22         that your understanding?
23                              Answer:      I believe that question came
24         up at the last deposition.              And I believe that
25         that's an accurate statement.

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1                               Did I read that correctly?
2                A.     You did read it correctly, yes.
3                Q.     And you stand by that testimony?
4                A.     Yes.     I have no reason -- it's not
5          something that I consider all that important.                      And I
6          don't usually retain that.              I've got so many other
7          pieces of information for me to retain.                    But, yes.
8                Q.     Going back to your CV, under invited
9          publications.
10               A.     I'm there.
11               Q.     Okay.     The next publication is an article
12         titled The Use of Cross-Sex Steroids in Treating
13         Gender Dysphoria; is that right?
14               A.     That is correct.
15               Q.     It was published in the National Catholic
16         Bioethics Quarterly; is that right?
17               A.     That is correct.
18               Q.     Is this article, The Use of Cross-Sex
19         Steroids, a peer-reviewed publication?
20               A.     No, it is not.
21               Q.     Is the National Catholic Bioethics
22         Quarterly a peer-reviewed journal?
23               A.     No.
24               Q.     Is the National Catholic Bioethics
25         Quarterly a scientific journal?

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1                A.     No.     It is an ethics journal.
2                Q.     All right.        And the next publication, 8,
3          under publications in your CV is Experimental
4          Approaches to Alleviating Gender Dysphoria in
5          Children; is that right?
6                A.     Yes.
7                Q.     And this is another one of your
8          publications that relates to gender dysphoria?
9                A.     Yes.
10               Q.     Is this a peer-reviewed article?
11               A.     It is published in the same journal as
12         No. 7.     And it is not a peer-reviewed journal.
13               Q.     Okay.     Do you have any other publications
14         besides the ones that we just went through that
15         relate to gender dysphoria?
16                      MR. KNEPPER:         Objection, form.
17               A.     So there are -- I have no publications
18         that have been added since the time I submitted this
19         CV and it reflects my publications to date.
20               Q.    (By Mr. Gonzalez-Pagan)              Do you have any
21         other publications besides the ones that we've
22         discussed today relating to transgender people?
23               A.     Not that I recall.
24                      MR. GONZALEZ-PAGAN:            All right.        I
25               actually do need to break.               So if we can go off

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1          scientific understanding of this condition.                        To my
2          understanding, the transition from this definition
3          as gender identity disorder to gender dysphoria was
4          not based upon new scientific information.
5                              It was more of a desire to alleviate
6          the discomfort that one has in that label.                     So how
7          we classify that really rests on the premises that
8          one has about the underlying etiology.                    And I think
9          that there are -- are more than one valid hypothesis
10         or I should say premises that can be put forward,
11         not necessarily all of equal weight.
12               Q.    (By Mr. Gonzalez-Pagan)              Okay.     But what is
13         your understanding of the condition of gender
14         incongruent?
15                      MR. KNEPPER:         Objection, form, scope.
16               A.     It's a very broad question.                 Could you
17         narrow it down a little bit?
18                      MR. GONZALEZ-PAGAN:            John, what's the
19               objection of the scope?              I thought Dr. Hruz is
20               here to testify about gender-affirming
21               treatment for the condition of gender dysphoria
22               and gender incongruent.
23                      MR. KNEPPER:         Hold on, Omar.          You're free
24               to ask the questions.             I think the question I'm
25               trying to understand is:              Are you trying to ask

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1                him to testify about -- as a psychiatrist or a
2                psychologist?         And it's not clear to me, you
3                know, what the definition of gender
4                incongruence -- are you -- it's not clear to me
5                when you use that term, are you trying to say
6                it's the ICD-11 definition or are you using
7                something else?
8                        I'm happy -- happy to let you continue to
9                pursue this.        I'm just as interested as you
10               are.     But I want to make sure that as you go
11               through this, we don't end up -- we don't end
12               up down a path where you're trying to say, now,
13               ah-ha, he's coming here pretending to be a
14               psychologist which is outside the scope of what
15               he said he's going to testify to.
16                       MR. GONZALEZ-PAGAN:           Well, I mean, we have
17               a 90-page report that I'm happy to go through.
18                       MR. KNEPPER:        Please do.
19               Q.     (By Mr. Gonzalez-Pagan)             Dr. Hruz, in your
20         report, you state a number of opinions about the
21         validity of the diagnosis of gender dysphoria
22         contained within the DSM; is that right?
23                       MR. KNEPPER:        Objection, form.
24               A.      I would be much more comfortable looking
25         at the specific areas that you're referring to.

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1          Because I present many things in my report as
2          hypotheses.      And without making definitive
3          statements.      So it would be most helpful if we can
4          look at specific areas that you're referring to.
5                Q.    (By Mr. Gonzalez-Pagan)              Okay.     So I guess
6          what I'm curious about is, do you have a particular
7          as a physician scientist, do you have a particular
8          belief as to whether gender dysphoria is a disorder?
9                A.     I have multiple scientific premises that I
10         have and continue to consider.                Again not of equal
11         weight or validity.          One of those premises is that
12         this condition arises from a disconnect between
13         neuronal biology and the bodily from -- sex --
14         bodily form of the body.
15                             Another scientific premise is that
16         this condition is due to the number of
17         environmental, social, hormonal and neuronal
18         components.      So how we understand this condition is
19         markedly influenced by the premise that we come to
20         address the hypotheses that we're going to need to
21         consider to develop clinical trials to establish
22         safety and efficacy of treatment that provides the
23         greatest benefit to the affected patients.
24               Q.     Would you agree there are transgender
25         people in this world?

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1                A.     Again, we have to be very careful about
2          the terminology that we're using, to acknowledge
3          that the condition of sex discordant gender
4          identity, and there are individuals that -- that
5          express an identity that is not in agreement with
6          their biology is a true statement.                  That's
7          undeniable that these -- there are individuals that
8          have this experience of discordance between their
9          gender identity and their sex.
10               Q.     Do you believe that the experience of
11         discordance between their identity and what you term
12         their biology, is a disorder?
13                      MR. KNEPPER:         Objection, form.
14               A.     So, again, it depends on what premise
15         you're operating under.            As far as whether this is a
16         normal experience of -- of a human condition or
17         whether it falls outside of -- of the norm for us as
18         sexed beings.       And, again, as a physician scientist
19         I'm obligated to be able to consider all
20         possibilities to be able to do the proper science to
21         get at the ultimate question here as to what we can
22         do to alleviate the suffering.
23               Q.     (By Mr. Gonzalez-Pagan)              Dr. Hruz, I guess
24         I'm a little confused as to what it is that is your
25         opinion here.       Can you briefly summarize for me what

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1          more cautious approach by the recognition that the
2          studies that have been done up to this point in time
3          do not give us an answer as to whether this is the
4          best or the only course of intervention to alleviate
5          that suffering.        Is that -- is that what you're
6          looking for?
7                Q.     Thank you.        I appreciate that.           In your --
8          as part of your opinions, do you provide -- let me
9          back up.
10                             Do you express an opinion as to which
11         modality of care should be provided to people
12         diagnosed with gender dysphoria?
13               A.     I believe that it's an ongoing scientific
14         question about what the most efficacious approach is
15         to provide the greatest benefit with the least
16         amount of risk.        And that is why I'm participating
17         as an expert witness in this case, to bring to light
18         for the benefit of the court that this is something
19         that needs to be very much investigated to be able
20         to get an answer to that question.
21               Q.     Do you express an opinion as to which
22         modality of care should be provided to people
23         experiencing gender dysphoria?
24                      MR. KNEPPER:         Objection, form.
25               A.     I would say because it's an unsettled

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1          scientific question, that I don't have a firm
2          opinion as to which is the best approach.                     Yet as
3          time has gone on, more and more information is being
4          generated that calls into question the
5          affirmation-only approach.
6                Q.    (By Mr. Gonzalez-Pagan)              And I don't
7          want -- what I'm trying to do is get clarity here.
8          So would it be fair to say that you do not provide
9          an opinion as to which modality of care should be
10         provided for people experiencing gender dysphoria?
11                      MR. KNEPPER:         Objection, form.
12               A.     My opinion is that based upon the lack of
13         evidence for the gender -- gender-affirmation
14         approach, that if we are going to provide
15         interventions for this population that it is best
16         done under a carefully controlled clinical
17         experimental setting.
18               Q.    (By Mr. Gonzalez-Pagan)              You express that
19         there are ongoing questions as to the efficacy of
20         the gender-affirmation approach; is that right?
21               A.     That is correct.
22               Q.     Again for clarity's sake, are you --
23         you're not expressing an opinion with -- with
24         medical certainty as to whether the
25         gender-affirmation approach is effective or not; is

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1          anxiety?
2                A.     I would say that the answer is yes.
3                Q.     So for people who experience gender
4          dysphoria and do not have any other co-morbidity,
5          what would you do to address their gender dysphoria
6          while the clinical trials are being conducted?
7                       MR. KNEPPER:         Objection, form.
8                A.     That's a broad question.               And it depends
9          upon the individual characteristics of the patient,
10         including their age and including all of the other
11         factors that are associated with that gender
12         dysphoria.      Was it a child who is prepubertal?                 Is
13         it a child who is an adolescent?                 Is it an adult?
14         Is it a child or an adult that, you know, all of the
15         social situations or circumstances that they're
16         involved in?
17                             Again, without having a formal
18         diagnosis of depression or anxiety or these other
19         co-morbidities, all of that is going to impact how
20         one approaches that particular patient.
21               Q.    (By Mr. Gonzalez-Pagan)              I guess here we're
22         talking about this case, you said it's a provision
23         of coverage for treatment for gender dysphoria; is
24         that right?
25               A.     That is the nature of this case, correct.

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1          had a new chairman that came on board from the one
2          that recruited me to that position.                  We disagreed in
3          more than one area.
4                              There was also my research program
5          had been rapidly expanding and was getting into the
6          area of drug development.             I would say that the role
7          of chief of any division is a thankless job.                       It
8          requires a tremendous amount of time and effort.
9          And so, you know, the decision to -- to step down
10         from that position was actually very advantageous to
11         my further career development.                But, you know, it
12         was one of the -- the gender center was one among
13         many disagreements that I had at that time.
14               Q.     Does the Washington University Transgender
15         Center offer pediatric and adolescent
16         gender-affirming care?
17               A.     Yes.     In the definition that we're talking
18         about here meaning the GnRH agonist or puberty
19         blockers, cross-sex hormones.
20               Q.     Does the Wash --
21               A.     In addition to --
22               Q.     Does the Washington University Transgender
23         Center offer hormone therapy as treatment for gender
24         dysphoria in adults?
25               A.     Does the pediatric center -- your question

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1          is does the pediatric center provide care for
2          adults?
3                Q.     Well, my -- the transgender center offers
4          both care to pediatric and adult patients; is that
5          right?
6                A.     So in general, the care that's delivered
7          at St. Louis Children's Hospital spans birth to the
8          low -- early 20s.         There are individuals that are
9          adults that are cared for by the adult endocrine
10         division.     And there's a separate team of doctors
11         that participate in that care.
12               Q.     Are you a member of the Endocrine Society?
13               A.     Yes.
14               Q.     The Endocrine Society publishes clinical
15         practice guidelines regarding the treatment of
16         gender dysphoria; is that right?
17               A.     That's correct.          Their initial document
18         came out in 2009 with lead author Hembree and then
19         they had a revision that was done in 2017.
20               Q.     Showing you what's been marked as
21         Exhibit 5.
22                                     (Whereupon Exhibit 5 was
23                                     introduced for identification.)
24               A.     Okay.     I see it.
25               Q.    (By Mr. Gonzalez-Pagan)              Do you recognize

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1                       THE COURT REPORTER:            Thank you.
2                       MR. GONZALEZ-PAGAN:            Borrowing a word from
3                you, John.
4                Q.    (By Mr. Gonzalez-Pagan)              What is WPATH?
5                A.     It's an organization known as the World
6          Association of Professional Transgender Health.                    It
7          is -- again, this is the organization that came out
8          with their version seven of the guidelines quite a
9          long time ago to provide their perspective on what
10         should be done for people that experience sex
11         discordant gender identity.
12               Q.     Does the Washington University Transgender
13         Center follow the WPATH guidelines?
14               A.     Again, I will say that I'm not directly
15         involved in the gender center.                My understanding
16         based on conversations with the director of that
17         center, he claims that they do.
18               Q.     Do you, yourself, provide treatment for
19         gender dysphoria?
20               A.     I will state that I'm a pediatric
21         endocrinologist charged with treating hormonal
22         diseases.     And because I have not seen the evidence
23         that supports the proper risk/benefit to that
24         intervention, I do not provide that care, as I don't
25         in any other area where I have not determined

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1          appropriate benefit versus risk.
2                Q.     Have you ever diagnosed a person with
3          gender dysphoria?
4                       MR. KNEPPER:         Objection, form.
5                A.     I'm a pediatric endocrinologist and my
6          charge is to treat hormone related diseases.                       And
7          therefore, I've not been called upon to make that
8          diagnosis.
9                Q.    (By Mr. Gonzalez-Pagan)              Would you agree
10         you do not have any clinical experience providing
11         care for people for gender dysphoria?
12               A.     I would not agree with that.
13               Q.     Do you provide treatment for people?
14               A.     I provide -- I provide treatment for
15         hormone-related conditions that includes people with
16         gender dysphoria.
17               Q.     But specifically in treating gender
18         dysphoria, do you have any clinical experience with
19         regards to the treatment of that condition?
20               A.     Since I'm a pediatric endocrinologist, my
21         experience is limited to the treating of
22         hormone-related diseases.
23               Q.     Is that a no?
24               A.     I have not treated with hormones for the
25         purpose of alleviating gender dysphoria.                    I have

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1          however treated patients that have experienced side
2          effects related to that hormonal treatment including
3          obesity, diabetes, dyslipidemia.                 So in that respect
4          I have treated them, but not to address dysphoria.
5          But, rather, the complications that have occurred in
6          association with that treatment.
7                 Q.    Clarify, you said association, yes?
8                 A.    That's correct.
9                 Q.    Do you have proof -- do you have proof
10         that it was caused by the treatment for gender
11         dysphoria?
12                A.    If I thought I had enough evidence to say
13         cause, I would have said caused.                 I said
14         association.
15                Q.    Thank you.        You've given a number --
16         Strike that.
17                             Have you given presentations
18         regarding gender dysphoria?
19                A.    Yes.
20                Q.    Have any of these presentations been at
21         medical conference -- conferences or settings?
22                A.    Yes.     I've -- well, I've delivered many
23         lectures to major academic centers during medical
24         grand rounds.       And I'm happy to detail those for
25         you.    It includes University of Tennessee, Texas

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1          Tech, Notre Dame, the University of Montevideo.                      And
2          there are probably others.              I can't remember.          So --
3          and so as being a grand rounds presentation in major
4          medical centers, yes.
5                Q.     Aside from grand rounds, have you provided
6          any presentations regarding gender dysphoria at any
7          medical conferences or sites?
8                A.     Well, I would consider grand rounds a
9          conference.
10               Q.     Grand rounds is when there's an invited
11         lecturer at a particular hospital and everybody is
12         invited to attend; is that right?
13               A.     So you're asking about national meetings,
14         like the Endocrine Society meetings or such?
15               Q.     Well, let me just clarify what grand
16         rounds are for the record.              So what are grand
17         rounds?
18               A.     Grand rounds are usually a recurring
19         series of talks given by experts in various fields
20         to the relevant scientific community about topics of
21         interest to those physicians.               And generally, it
22         involves the presentation of high quality scientific
23         evidence for the conditions that those physicians in
24         the audience would encounter.
25               Q.     Okay.     So you have not conducted any

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1          studies for any gender dysphoria, right?
2                A.     I believe we answered that question
3          earlier when we went through my CV.
4                Q.     Well, I'm just wondering what your
5          presentation of the grand rounds are since you have
6          not conducted any such study?
7                A.     It was providing the same types of
8          evidence that I presented in my expert declaration
9          about the scientific studies that have been done or
10         need to be done in this field.                Presenting the
11         various hypotheses for etiology and potential
12         treatment.      The various side effects that are known
13         or potentially could occur.              So it includes all
14         of -- or very similar information regarding the
15         scientific studies that I presented in my expert
16         declaration.
17               Q.     And now, to continue aside from grand
18         rounds, have you provided any presentations
19         regarding gender dysphoria in any other medical
20         conferences or settings?
21               A.     I would have to -- I'd have to think
22         through my list.         It's actually most of the major
23         presentations that I've made are listed within my
24         CV.   So I'd have to look back as to what I listed
25         there.     But if you're asking about the Endocrine

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1          Society or the pediatric Endocrine Society or those
2          types of organizations, I have not presented at
3          those conferences.
4                Q.     Are you familiar with the gender and sex
5          conference?
6                A.     Yes.     And are you referring to the one in
7          Madrid.
8                Q.     That was going to be my question.                     Did you
9          participate in the gender and sex conference in
10         Madrid in 2018?
11               A.     I don't recall the exact date.                 But if it
12         was 2018, yes, I did present there.
13               Q.     Did you know that the conference was
14         billed as, quote:         A rebellion against the gender
15         ideology and its freedom destroying damaging law,
16         closed quote?
17               A.     I -- I don't recall that language being
18         presented to me when I agreed to present at that
19         conference.
20               Q.     Did you know that the conference was
21         focused on opposing what it termed "gender
22         ideology"?
23               A.     You know, again, I was asked -- and this
24         is true for -- if you're going to go through the
25         list of all of the places that I've spoken at.                        When

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1          I've been invited to present at any of these
2          conferences, my desire is to provide the most
3          accurate and up-to-date scientific information
4          related to the condition of gender dysphoria.
5                              I am willing to present to any
6          audience that is willing to hear that information.
7          I don't make judgment about what the motives are of
8          the individuals organizing the conference.                     But
9          merely serve with my area of expertise and my
10         knowledge to be able to further that discussion in a
11         productive manner.          And that applies to that sex and
12         gender conference in Madrid.
13               Q.     Who organized the gender and sex
14         conference in Madrid?
15               A.     I do not recall the entity.                I'm sure
16         you'll tell me.        But again that wasn't who invited
17         me was not as important as whether I was going to be
18         given the opportunity to present the information
19         objectively on this particular condition within my
20         area of expertise.
21                      MR. GONZALEZ-PAGAN:            Oh, shoot.        John, I
22               just published an exhibit without a label.                     Do
23               you have any objection to me calling it
24               Exhibit 6?
25                      MR. KNEPPER:         Having done that very same

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1                thing, Omar, let me take a look at it.                       But,
2                no, I -- I cannot imagine I will have an
3                objection.       Actually it labeled it as Exhibit 6
4                automatically, but there's no stamp.
5                        MR. GONZALEZ-PAGAN:           There's no stamp,
6                yes.
7                        MR. KNEPPER:        Sheryl, you'll have to put
8                the stamp on it.          But I'm completely okay with
9                calling that Exhibit 6.
10                       MR. GONZALEZ-PAGAN:           Thank you.
11                                     (Whereupon Exhibit 6 was
12                                     introduced for identification.)
13               Q.     (By Mr. Gonzalez-Pagan)             Dr. Hruz, I'm
14         showing you what's been marked as Exhibit 6.
15               A.      I can see it.
16               Q.      And I apologize for the formatting.                    Some
17         pages don't print as well as others.                   This appears
18         to be a press release following the conclusion of
19         the gender and sex conference which you were talking
20         about; is that right?
21               A.      I've never seen this document before.
22               Q.      Okay.    If you go to the second page.
23               A.      Okay.    I think I'm there.
24               Q.      It talks about the gender and sex -- in
25         the paragraph beginning eight speakers, sort of --

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1                A.     Okay.     I'm there.        I've got it now.
2                Q.     Okay.     It speaks of the gender and sex
3          conference as being organized by HazteOir.org and
4          its international platform, CitizenGo; is that
5          right?
6                A.     That's what it says here, yes.
7                Q.     And does that -- is that in keeping with
8          your recollection about who organized the gender and
9          sex conference?
10               A.     Yes.     I seem to recall now that you've
11         jogged my memory.         That is correct.
12               Q.     Okay.     And then on the third page in the
13         middle, there's a paragraph beginning:                   The rest of
14         the panel experts and lecturers was made up by
15         Professor Glenn Stanton; Dr. Paul Hruz; the
16         sociologist, Gabriella Kuby; and the former
17         transsexual, Walt Heyer.
18                              Did I read that correctly?
19               A.     I see the paragraph that starts Stanton
20         assured that and, in quotes, the gender theory is
21         unscientific, is that what you're --
22               Q.     Just above.
23               A.     Oh.
24               Q.     I skipped the links in reading those.
25               A.     Ah, okay.       I see that, yes.

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1                Q.     Okay.     So it is your recollection then
2          that you presented at this conference; is that
3          right?
4                A.     Oh, yes.       I do recall the conference.             I
5          just didn't until you reminded me.                  I didn't know
6          who organized it.
7                Q.     You used the term "gender ideology" in
8          your report; is that right?
9                A.     I have used that term in the course of my
10         investigation of this condition, yes.
11               Q.     What is gender ideology?
12               A.     I would define ideology is including
13         statements that are made on a non -- a
14         non-scientific basis with premises and goals that
15         are outside of science.
16               Q.     Do you consider any healthcare
17         professional that subscribes to the gender-affirming
18         treatment model to be a gender ideolog?
19               A.     I think you're conflating different terms.
20         You mentioned gender-affirming medical care and
21         ideology; those are two separate --
22               Q.     Well, that's my question.               My question is,
23         does somebody that provides or advocates for
24         gender-affirming treatment, is that person a person
25         who subscribes to the gender ideology?

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1          turn to, to be able to define, you know, the
2          condition and the treatment approach.                   And I --
3                Q.     Isn't that true for many psychiatric
4          conditions?
5                A.     Absolutely.        I would -- absolutely.                  It is
6          not unique to the area of gender dysphoria.                        In
7          fact, in talking, you know, to those that are
8          engaged more in the field of psychiatry, they will
9          acknowledge that the rudimentary nature of the
10         discipline in comparison to the rest of the
11         medical -- medical enterprise, it is a very known
12         and serious shortcoming.             And there is a desire
13         certainly to -- to fill in those gaps.
14                              And there's actually hope that as
15         time moves forward with the advance in tools that
16         one has, to study neurobiology and address some of
17         these questions.         But there will be an opportunity
18         to provide clearer answers that are more evidenced
19         based.
20               Q.     Sure.     But, I mean, isn't that the nature
21         of science and medicine; we don't know everything,
22         period?
23               A.     We know far less of the psychiatric
24         conditions that are listed in -- or many of the
25         psychiatric conditions -- I wouldn't say all -- that

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1                Q.     But your practice is in the field of
2          endocrinology, not psychiatry; is that right?
3                A.     I think we've touched upon this earlier,
4          but I'm happy to expound upon that.                  Is --
5                Q.     Well, it's a yes or no.
6                A.     I'm a physician scientist.                So I'm very
7          qualified to talk about deficiencies in scientific
8          evidence that are present in this particular area.
9                Q.     So you're not a psychiatrist?
10               A.     I covered that earlier.              That I'm a
11         pediatric endocrinologist.              Yes, that's correct.
12               Q.     Are you aware that the revision of the DSM
13         involves the establishment of a scientific review
14         committee that evaluated and provided guidance on
15         the strength of evidence of any proposed changes?
16               A.     You know, that is how they describe the
17         process.     I again have asked for the evidence,
18         scientific evidence for the change between gender
19         identity disorder and gender dysphoria and then even
20         the move to shift toward the ICD code of gender
21         incongruence, that is based upon a scientific
22         evidence, rather than something other than that.
23               Q.     You also make reference in your report
24         with statements by Thomas Insel, the then director
25         of the National Institute of Mental Health, that it

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1          field forward.        So I think that's entirely
2          consistent with my interpretation of the whole
3          question.
4                Q.     Were you aware that two weeks after the
5          statement that you reference from Dr. Insel,
6          Dr. Insel issued a joint statement with the American
7          Psychiatric Association stating that, quote:                       The
8          American Psychiatric Association Diagnostic and
9          Statistical Manual of Mental Disorders, along with
10         the International Classification of Diseases
11         represents the best information currently available
12         for clinical diagnosis of mental disorders.
13                              Were you aware of that statement?
14               A.     Yes.     And that is completely in agreement
15         with my opinion that I put forward here as well.
16                                     (Whereupon Exhibit 7 was
17                                     introduced for identification.)
18               Q.    (By Mr. Gonzalez-Pagan)              Showing you what's
19         been marked as Exhibit 7.
20               A.     I have it.
21               Q.     Okay.     This is a statement issued by
22         Thomas Insel, the then director of the National
23         Institute of Mental Health, and Jeffrey Lieberman,
24         the then president elect of the American Psychiatric
25         Association; is that right?

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1                A.     Yes.     I believe -- well, I don't know for
2          sure, but I agree.
3                Q.     Okay.     Right below DSM-5 and RDoC, colon,
4          shared interests, it states:               The authors of this
5          statement.
6                               Do you see that?
7                A.     I see the two authors, Thomas Insel and
8          Jeffrey Lieberman, correct.
9                Q.     All right.        Going to the second paragraph,
10         it reads:     Today the American Psychiatric
11         Association Diagnostic and Statistical Manual of
12         Mental Disorders, along with the International
13         Classification of Diseases represents the best
14         information currently available for clinical
15         diagnosis of mental disorders.                Patients, families
16         and insurers can be confident that effective
17         treatments are available, and that the DSM is the
18         key resource for delivering the best available care.
19         The National Institute of Mental Health has not
20         changed its position on DSM-5.                As the National
21         Institute of Mental Health research domain criteria
22         project website states, the diagnostic categories
23         represent that in the DSM-IV and the International
24         Classification of Diseases 10, the main contemporary
25         consensus standard for how mental disorders are

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1          diagnosed and treated.
2                              Did I read that correctly?
3                A.     You read it correctly.              Yet what follows
4          in the next paragraph is more pertinent to the
5          statement that I made in the declaration
6          acknowledging the fact that the DSM is not
7          sufficient for researchers and the statement was
8          related to the basis for research funding.                     So, you
9          know, taken in context, this document is completely
10         in line with the statement that I made about the
11         limitations of the DSM.
12               Q.     But the DS -- the DSM -- this is a case
13         about the treatment of gender dysphoria; is that
14         right?
15                      MR. KNEPPER:         Objection form.
16               A.     So as we've been talking about all
17         morning, okay, the ability to have effective
18         treatments is based upon quality research.                     And if
19         the DSM is not sufficient for researchers to be able
20         to conduct their scientific study, because of how
21         the DSM generates their diagnostic codes, I think
22         that that understanding is completely relevant to
23         why one needs to be aware of that.
24               Q.    (By Mr. Gonzalez-Pagan)              All right.        Going
25         to what is the fifth paragraph, the second to last

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1          sentence.        It states:      As research findings begin to
2          emerge from the RDoC effort, this finding may be
3          incorporated into future DSM revisions and clinical
4          practice guidelines.            But this is a long-term
5          undertaking.        It will take years to fulfill the
6          promise that this research effort represents for
7          transforming the diagnosis and treatment of mental
8          disorders.
9                               Did I read that correctly?
10                 A.      You did read it correctly.
11                 Q.      Is there a reason why you did not include
12         this follow-up statement from Dr. Insel regarding
13         the DSM views and reliability in your report?
14                 A.      You know, I could have put the entire
15         document that you have here into the report.                        The
16         point being made, I think, is one that I fully agree
17         with.        I think that as we be able to -- are able to
18         incorporate science into the DSM, it is going to
19         increase in its validity and its usefulness.                        But in
20         its current state there is acknowledged in this
21         statement itself by the fact that this research is
22         needed.        It acknowledges the deficiencies that
23         currently exist.          So there's a whole host of other
24         things that I could have included in my declaration.
25         The point that was intended, I think, was

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1          sufficiently made and supported even by this
2          document that you put forward as a new exhibit.
3                Q.     Sure.     But in clinical qualification to
4          your statement is that that doesn't exist yet, and
5          that the DSM is the best current available tool that
6          we have according to this statement?
7                       MR. KNEPPER:         Objection, form.
8                A.     The point I made is that there are
9          deficiencies in how it was -- or limitations how the
10         DSM has been put together.              And that is relevant to
11         the understanding of how we put forward hypotheses
12         for efficacious treatments.              And so I would say
13         that, you know, that's -- the state of knowledge in
14         this area is -- is what is of concern and how we are
15         using the DSM beyond its capabilities without
16         knowledge of molecular or physiologic mechanisms for
17         most of the psychiatric diseases is a major
18         limitation which is acknowledged by the authors of
19         this document.        That is what I believe is important
20         for the court to recognize and to understand as we
21         move forward in this conversation.
22               Q.    (By Mr. Gonzalez-Pagan)              In your report you
23         speak of three modalities of treatment for gender
24         dysphoria; is that right?
25               A.     I would say three different categories

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1          based upon different underlying scientific premises.
2          I think the reality of interventions are much
3          broader than that and not as easily demarcated into
4          three categories.         But indeed, I do present those in
5          my declaration.
6                Q.     And these modalities, are they reparative
7          therapy, watchful waiting and the affirming
8          approach?
9                A.     That is how I presented it, correct.                  And,
10         again, if it would be helpful, if we're going to
11         talk about it, if we can direct ourselves to that
12         part of my declaration.
13               Q.     We'll get there.           Are you familiar with
14         Ken Zucker's work?
15               A.     Yes, I am.
16               Q.     In fact, you repeatedly cite Dr. Zucker
17         throughout your report; is that right?
18               A.     Yes, I do, among other people, yes.
19               Q.     What do you understand to be the model of
20         care that Dr. Zucker employed?
21               A.     Broadly speaking prior to his clinic being
22         shut down was to approach care in a way to
23         understand the underlying basis for the sex
24         discordant gender identity in that era was referred
25         to as gender identity disorder.

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1                              And to -- one of the approaches that
2          he used was to help facilitate an individual to
3          realign their gender identity with their sex.                      And
4          if that was not possible, would then advocate for
5          moving forward with affirmative approaches.
6                Q.     So under Dr. Zucker's model, affirming
7          care would be provided if there was persistence of
8          cross-gender identification into adolescence and
9          adulthood?
10               A.     Based upon the information that Dr. Zucker
11         had at the time that he was engaged in that care,
12         that was how he proceeded, yes.                He was not privy to
13         the information that has come forward in the last
14         several years about outcomes with that affirmative
15         approach.
16               Q.     What is the watchful waiting model?
17               A.     Again, all of these approaches are based
18         upon different scientific premises and it is based
19         upon the experience that the majority of prepubertal
20         children that experience sex discordant gender
21         identity, if merely left alone, will have
22         spontaneous realignment of their gender identity
23         with their sex.
24                             And it is again, whether it's
25         intended or not, perceived as to be a desirable

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1          outcome.     And that those individuals that have that
2          experience will not be exposed to gender-affirming
3          medical interventions with all the associated risks
4          and questionable benefits that we -- that I
5          mentioned already.          And I certainly can share more
6          information if you would like.
7                Q.     Let me introduce you to what's been marked
8          as Exhibit 8.
9                                      (Whereupon Exhibit 8 was
10                                     introduced for identification.)
11               Q.    (By Mr. Gonzalez-Pagan)              Do you have access
12         to the exhibit?
13               A.     Yeah.     I'm seeing it now, correct.
14               Q.     This is a publication on -- it's an
15         article on adolescent health medicine and
16         therapeutics; is that right?
17               A.     I'm seeing that here.             Is this a
18         peer-reviewed journal -- a peer-reviewed article,
19         just so I know?
20               Q.     I'll answer that question for you then.
21         The answer is yes, but it's the next exhibit.
22               A.     Okay.     I'm sorry.        Did you have a question
23         for me?
24               Q.     Not yet.
25               A.     Okay.

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1                Q.     I will represent to you that this is a
2          peer-reviewed journal, but -- and I'll come back
3          to -- to another exhibit to discuss that with you.
4          But turning --
5                A.     The reason I ask that was because it's a
6          review article.        And even in peer-reviewed journals,
7          not all reviewed articles are reviewed with the same
8          rigor.     So that's -- but thank you.
9                Q.     Let's exit out of that exhibit.                  And if my
10         computer will cooperate.
11                                     (Whereupon Exhibit 9 was
12                                     introduced for identification.)
13               Q.    (By Mr. Gonzalez-Pagan)              All right.        I'm
14         introducing what's been marked as Exhibit 9.
15               A.     I have the document, just so you know.
16               Q.     Great.      Do you see where it describes the
17         journal as an international peer-reviewed, open
18         access journal focusing on health, pathology and
19         treatment issues specific to the adolescent age
20         group?
21               A.     That's true.         Just below the ISSN number.
22               Q.     Correct.
23               A.     Yes, I see that.
24               Q.     Okay.     So you would agree that it is a
25         peer-reviewed journal?

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1                A.     Yes.     They're claiming it is.              I would
2          have no reason to doubt that.
3                Q.     Okay.     So going back to Exhibit 8.                 If you
4          can turn to Page 61 of the document.
5                A.     Okay.     Are you referring to the
6          highlighted area?
7                Q.     Well, we're going to go to the bottom of
8          the right-hand -- right-hand column.
9                A.     Okay.
10               Q.     Under the watchful waiting model.
11                      MR. KNEPPER:         And, Omar, let's identify on
12               the record the highlighting is not in the
13               underlying document, but it's been added.
14                      MR. GONZALEZ-PAGAN:            For the record, the
15               highlighting in the exhibit has been added by
16               me.    Otherwise the document is unaltered.
17               Q.    (By Mr. Gonzalez-Pagan)              The highlighted
18         portion states -- reads:             In contrast to live in
19         your own skin approach, a young child's
20         demonstration of gender nonconformity, be it gender
21         identity, expressions or both, is not to be
22         manipulated in any way, but observed over time.                       If
23         a child's cross-gender identification and
24         affirmations are persistent over time, interventions
25         are made available for a child to consolidate a

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1          transgender identity, once it is assessed, through
2          therapeutic intervention and psychometric assessment
3          as in the best interest of the child.                   These
4          interventions include social transition (the shift
5          from one gender to another, including possible name
6          change, gender marker change and gender pronoun
7          changes), puberty blockers and, later, hormone and
8          possible gender-affirming surgeries.
9                              Did I read that correctly?
10               A.     Yes.
11               Q.     So under the watchful waiting model,
12         gender-affirming care is provided for adolescents
13         and adults if they persist in the cross-gender
14         identification; is that right?
15                      MR. KNEPPER:         Objection to form.
16               A.     That's correct according to this use of
17         the model, yes.
18               Q.    (By Mr. Gonzalez-Pagan)              Well, the watchful
19         waiting model was developed by -- it's the Dutch
20         model.     It was developed in the Amsterdam Center of
21         Expertise on Gender Dysphoria; is that right?
22               A.     That's my understanding.
23               Q.     Under the gender-affirmative model,
24         medical and -- no medical and surgical interventions
25         are initiated until after the onset of puberty; is

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1          that right?
2                A.     If you're talking about there's no reason
3          to block puberty that hasn't started yet or to
4          intervene with cross-sex hormones until that age;
5          that is correct.
6                Q.     Did you disclose to the -- in your report
7          that under Dr. Zucker's model, under the watchful
8          waiting model, and under the gender-affirmative
9          model, gender-affirming medical treatment is
10         indicated if cross-gender identification persists
11         into adolescence and adulthood?
12               A.     I would challenge you on the assertion
13         that it's indicated.           I would say that the model
14         itself bases itself on the next step of
15         intervention.       Whether there's a prudent approach is
16         really what is of concern with the literature that
17         we have available.          So the models itself indeed --
18         and they actually differ in not only in the timing
19         of when one engages.
20                             The affirmative model actually begins
21         earlier with social affirmation, not just medical
22         intervention.       And there's different scientific
23         premises that are underlying -- underlie these two
24         different approaches.
25               Q.     But under each of the models of the three

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1          models that we've discussed, medical and surgical
2          care is provided as a mode of treatment?
3                          MR. KNEPPER:       Objection, form.
4                  A.      Under the model.         So let me be clear.
5          Okay.        So the reason for the watch and wait approach
6          is to know that in prepubertal children that present
7          with gender dysphoria, that the vast majority of
8          them will have that spontaneous realignment, other
9          gender identity with their sex, by varying estimates
10         ranging from 50 to 98 percent.                 I think 88 --
11         85 percent is a good average based upon the
12         published literature.
13                              That means that this would apply to
14         15 -- at most 15 percent, maybe even less, that
15         would have persistence.             It also makes the
16         assumption -- and this is certainly one that one
17         considers with the current social environment as to
18         whether the influence of the social affirmation
19         component, you know, is -- is provided.
20                              So the underlying premises are
21         different in the two models.                One has a premise that
22         there are a number of factors that led to the gender
23         dysphoria.        And the vast majority of individuals,
24         that they may differ from one patient to another.
25         There is no biological test that one can do to

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1          determine which of these individuals are going to
2          have persistence or have that spontaneous
3          realignment.       And the safest course of action is to
4          do nothing until things are sorted out.
5                              The gender-affirmative model makes a
6          scientific premise that when one experiences sex
7          discordant gender identity, it reflects something
8          that is innate and immutable.               And, therefore, a
9          prudent approach would be to immediately engage in
10         social affirmation followed by these hormonal
11         interventions.        I hope that I've stated that clearly
12         enough for you and for the court.
13               Q.    (By Mr. Gonzalez-Pagan)              Sure.     But
14         ultimately as to the question for transgender people
15         who persist in their cross-gender identification by
16         definition into adolescence and adulthood, medical
17         care and surgical care if indicated under any of the
18         three models, that being Zucker's model, the
19         watchful waiting model or the gender-affirming
20         model?
21               A.     I don't know that I would distinguish what
22         we were talking about earlier with the Zucker model
23         being -- I think you're doing that more as the
24         reparative therapy.
25                             And this is based upon again the

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1          issue at hand of the emerging scientific evidence
2          that leads one to question whether this provides a
3          long-term solution to the problem of dysphoria.
4          And, again, I will state again that there are many
5          concerns about the presumption in proceeding with
6          affirmative care that can be challenged by the
7          outcomes that one is observing about how well these
8          individuals are doing after receiving the
9          gender-affirmative care.
10                              So this is -- these are statements in
11         this particular paper by Dr. Ehrensaft that is based
12         upon the presumption that those are -- who receive
13         the affirmative approach are going to be completely
14         cured of their difficulties that they experience.
15         And my point is that when you say indicated, it
16         fails to recognize the -- the challenges that are
17         emerging for that outcome.
18               Q.     Sure.     But my last question wasn't whether
19         it was indicated.         My last question is whether under
20         each of the three models -- and let me clarify
21         something.      You discuss a reparative therapy model
22         in your report; is that right?
23               A.     Yes.     Can we again go to that part just so
24         you can direct me just so we can be looking exactly
25         at what I wrote.

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1                  Q.      Sure.     It's Page 49 going into Page 50.
2                  A.      Thank you very much.           Okay.     Very good.
3                  Q.      My point is --
4                  A.      I do remember what I wrote.              I just want
5          to make sure we're talking about the same thing.
6                  Q.      My point is that -- that I'm trying to
7          distinguish actually there are four models, if you
8          will.        The Ken Zucker model is distinguished from
9          reparative therapy in that -- in a significant way.
10                                 And let's go to Page 61 of Exhibit 8,
11         the highlighted portion above the watchful waiting
12         model.        It states:     If by the arrival of puberty a
13         child is still exhibiting cross-gender
14         identification and expressing a cross-gender
15         identity, that child should be supported in
16         transitioning to the affirmed gender including
17         receiving puberty blockers and hormones once it is
18         assessed from clinical interviews and psychometric
19         testing that the affirmed gender identity is
20         authentic.
21                                 Did I read that correctly?
22                 A.      Yes.
23                 Q.      Okay.     So my question was whether you
24         disclose in your report that under the watchful
25         waiting model and/or Ken Zucker's approach,

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1          gender-affirming medical care is provided after the
2          onset of puberty?
3                  A.    I'm trying to -- let's go back again to my
4          report and the context of the discussion that I'm
5          putting forward.          You said that was -- we were on
6          page -- page or bullet point No. 59, I think you
7          said.
8                  Q.    Page 49, going into 50.
9                  A.    49.     Okay.     That's where I -- that's where
10         I lost you.         I was on 59.       Sorry.      So I would also
11         add that the presentation of three broad
12         categories -- and you've mentioned a variation of
13         one of those categories saying there are four
14         approaches.         I would -- I would posit it that
15         there's a number of other hypotheses that have been
16         put forward about treatment approaches that --
17                 Q.    Did you disclose any of those other
18         approaches in your report beyond the three that you
19         listed in this paragraph?
20                 A.    Let me explain what I mean by that.                   Okay?
21         As I repeatedly said in my declaration that there
22         are multiple hypoth -- alternative hypotheses that
23         can be put forward about the most prudent approach
24         to care.      These broad categories provide the
25         foundation for understanding the design and

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1          implementation of these various applications of
2          these broad categories.
3                              The point of dividing it up into
4          three categories is to really -- and I think that
5          that is still valid -- that the starting underlying
6          scientific hypotheses or the scientific premise, I
7          should say, varies in these three different
8          approaches.      How that scientific premise is
9          translated into hypotheses that lead to care
10         approaches is -- is at issue here.                  And that I think
11         is the important point that I wanted to illustrate
12         for the court.        And make it very clear that what is
13         put forward by the plaintiff experts, and they said
14         this repeatedly, is that the affirmation-only
15         approach is the only accepted intervention in the
16         care of gender dysphoria youth.                And in this paper
17         here and in my declaration, you know, challenge that
18         as far as the most prudent approach.                   And that's the
19         point of why it was included in a benefit for the
20         court.
21                             The affirmation approach is not the
22         sole approach.        And there are alternative approaches
23         that haven't been adequately investigated and that
24         need to be investigated.             And this is an area of
25         unsettled controversial treatment that is going on

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1          currently.
2                Q.     Sure.     But ultimately there's a
3          distinction that they are different, right?                        Under
4          all three of these models, gender medical care and
5          surgical care is provided after the onset of
6          puberty?
7                       MR. KNEPPER:         Objection, form.
8                A.     I would say that is an important
9          distinction because if the underlying --
10               Q.    (By Mr. Gonzalez-Pagan)              The modalities of
11         treatment, are they different?
12               A.     If the outcome of the affirmation approach
13         is proven to be not effective it would change the
14         way that one applies that model to the effected
15         patients.
16               Q.     But on the altering model, you're
17         providing medical care after the onset of puberty.
18         So the real difference has to do with prepubertal
19         children and how they're treated; is that right?
20               A.     Well, let's talk a little bit about the
21         emerging demographic of what we are experiencing
22         right now.      Many of the people --
23               Q.     But that's not my question, though.
24         Like --
25               A.     Okay.     I don't think it applies

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1          exclusively to the prepub -- medical care -- I would
2          say the hormonal interventions apply only to people
3          that have progressed at least to stage two puberty.
4          Social affirmation applies across the board and
5          would be relevant whether one presented during
6          adolescence or in childhood.
7                Q.     But social affirmation is not a medical or
8          surgical treatment.
9                A.     Many would argue that.              And I would say in
10         a technical sense, that is true.                 However, there are
11         many concerns that are evidenced in the literature,
12         that that influences the trajectory of the children
13         as to whether they go on to medical care.                     So many
14         can and have argued that it is the first step that
15         is leading them on to the subsequent hormonal
16         interventions.        So I think it is relevant.
17               Q.     In Paragraph 50 in discussing -- in
18         describing the watchful waiting approach, you note
19         that this approach may include the use of
20         scientifically validated treatment, e.g., CBT, for
21         the patient's anxiety, depression, social skill
22         deficits or other issues.
23                             But you do not note that
24         gender-affirming medical care and surgical care are
25         provided under this approach.               I'm just wondering

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1          why you did not provide that context in your report?
2                A.     Because that's under the premise that the
3          affirmative approach actually provides benefit, and
4          throughout my declaration I have raised multiple
5          concerns with existing published data that lead to a
6          presumptive or tentative conclusion that at best we
7          should have more caution to that approach.
8                Q.     So at best your description of the
9          watchful waiting approach in this paragraph is
10         incomplete?
11                      MR. KNEPPER:         Objection.
12               A.     Let's read through and we can even read it
13         into the record if you'd like, the way that I
14         present that.        Because that's where I think it's
15         important to look at this in context.
16               Q.    (By Mr. Gonzalez-Pagan)              Actually let's
17         just -- let's just go to Paragraph 53 of your
18         declaration.       It states:        Another controversy --
19               A.     Hold on.       I'm not there yet.
20               Q.     Okay.     I'll wait for you.
21               A.     It's a long paragraph.
22               Q.     Well, I'm right at the beginning of
23         Paragraph 53.
24               A.     It starts with "assistance"?
25               Q.     Paragraph 53.

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1                A.     Paragraph 53 talking about another
2          controversy, the watchful waiting treatment; is that
3          what you're talking about?
4                Q.     Sure.
5                A.     Okay.
6                Q.     I'll just read the heading:                Another
7          Controversy, the watchful waiting treatment modality
8          involves no medical treatment and is currently the
9          best specifically -- sorry -- is currently the best
10         scientifically supported intervention for young
11         children reporting gender dysphoria.
12                              But the watchful waiting model does
13         involve medical treatment; isn't that right?
14               A.     Perhaps to clarify that statement when I
15         say young children when we're referring to
16         prepubertal children, that is true, and it is
17         actually included in the Endocrine Society
18         guidelines.      As far as the concerns about
19         intervening and the caution that should be expressed
20         precisely because of the high rates of desistence.
21                              So that statement, again, when we're
22         talking about social affirmation and your contention
23         as I'm hearing it as you're stating it is social
24         affirmation is not technically a medical
25         intervention.        And I think we've already discussed

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1          that.        That it is relevant as far as the first step
2          in influencing the trajectory of these individuals.
3                  Q.      This case --
4                  A.      And there's also --
5                  Q.      So this case involves gender-affirming
6          care, right?
7                          MR. KNEPPER:       Object to form.
8                          MR. GONZALEZ-PAGAN:          I apologize, Sheryl.
9                  A.      So -- so -- okay.         Let's -- let's also
10         move on.        So if -- if you then look at the first
11         stage of medical intervention which involves the
12         administration of an GnRH agonist or also known as a
13         puberty blocker, significant concerns that that
14         normal trajectory where you see the majority 50 to
15         98, I would say 85 percent have the desistence.
16         That demographic or that statistic changes
17         drastically in those individuals that have received
18         that first step of pubertal blockade and that
19         actually most of the studies that have been
20         published thus far says the vast majority of -- it's
21         not 100 percent.          It's very close to that -- will go
22         on cross-sex hormones.             So again that is not -- that
23         is more the affirmative model.
24                              The watch and wait model would posit
25         that as a child begins into their puberty, that

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1          acknowledging that the bodily changes that occur may
2          heighten the level of dysphoria that they
3          experience.      But as they go through that
4          developmental process, that experience of puberty is
5          actually critically important in the overall
6          integration of one's identity with their sex.                      And
7          that would be consistent with the watch and wait
8          model.     So that again, as being presented in this
9          one review article by Dr. Ehrensaft -- much more I
10         could say about that -- I think there's much more to
11         be said about the way that these models are being
12         presented.
13               Q.     The study that you -- the study to which
14         you refer regarding persistent cross-gender
15         identification following the provision of GnRH
16         analogue, is that the de Vries study?
17               A.     That's the one that shows a hundred
18         percent persistence or a hundred percent moving that
19         across sex hormones.           There's been subsequent ones
20         where it's not been a hundred percent, but it's been
21         the 90 percent range.
22               Q.     You say that those studies pertain to the
23         application of the gender-affirmation model, but the
24         de Vries study is actually speaking to the watchful
25         waiting model.        It is the Dutch model.

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1                  A.      We need to say a lot more about that if we
2          want to flesh that out for you.                 I don't know that
3          you've adequately characterized the Dutch model.
4          And I will add that the Dutch model was presented a
5          decade ago with a different patient population that
6          is currently presenting at the gender clinics across
7          the world.        And even --
8                  Q.      But that's a different point than -- than
9          the one that we're talking about, right?                     You
10         indicated that the affirmation model -- studies show
11         that the affirmation model leads into persistence,
12         but you're relying on a study based on the Dutch
13         model.
14                 A.      Well, I would qualify that statement.               I
15         didn't say that it leads to that model, because the
16         way the study was conducted, you know, causal effect
17         cannot be inferred.           Okay?      So I would moderate
18         that.        But I would say it's certainly of concern
19         that that number is drastically different than the
20         prior studies that have shown that rate of
21         spontaneously -- spontaneous realignment with gender
22         identity with sex.
23                 Q.      But those are different populations,
24         right?        I mean, we're talking about prepubertal and
25         pubertal youth versus prepubertal youth?

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1                A.     Not necessary -- so, again, you know, it
2          would be much more helpful to talk about specific
3          studies.     In the de Vries study, the whole basis of
4          giving pubertal blockers applied only to pubertal
5          patients.
6                Q.     That's by definition any person who's
7          receiving puberty blockers.
8                A.     No necessarily.
9                Q.     It has to happen at the onset of puberty.
10               A.     Well, yes, onset of puberty, that would be
11         the only indication for giving it in the area of
12         pediatrics.
13                      MR. GONZALEZ-PAGAN:            All right.        How about
14               we break now for lunch?
15                      MR. KNEPPER:         Dr. Hruz?
16                      MR. GONZALEZ-PAGAN:            Well, I'm -- I'm
17               hungry, so.
18                      MR. KNEPPER:         I know.      This works with
19               your diet?
20                      THE WITNESS:         Yeah.     I think as we go
21               through this, I'm going to be happy just
22               plowing through.          So it's going to have to come
23               from your end if you want to take a break.
24                      MR. GONZALEZ-PAGAN:            Well, it's coming
25               from my end.        Because I -- I'm running on a

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1          have to demonstrate a concept of what we call
2          non-inferiority.         So if that's the natural outcome,
3          so if there's a realignment with gender identity
4          with sex and that obviates the need for them to go
5          on to receive hormonal treatment of any sort at all,
6          that would be a desired outcome.
7                              The challenge is that in those
8          individuals, there is no reliable diagnostic test to
9          predict which of those children are in the category
10         of 85 percent, like we go to this realignment versus
11         the subset that's going to persist in that sex
12         discordant gender identity.
13                             So that's the challenge.               So I would
14         say I wouldn't be so firm to make an absolute
15         determination of the best course of action, but I
16         wouldn't say that any alternate approach would have
17         to prove that non-inferiority outcome.
18               Q.    (By Mr. Gonzalez-Pagan)              Okay.     And the
19         desistence study speaks to prepubertal youth who
20         were diagnosed with gender identity disorder under
21         the DSM-III or the DSM-IV; is that right?
22               A.     So this is -- I'm very much aware of that
23         critique, and the way that people have attempted to
24         dismiss that desistence literature based upon that
25         difference of gender identity disorder versus gender

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1          dysphoria.      It's very interesting that if you look
2          in detail for example at that same paper the number
3          of people based upon the criteria --
4                Q.     I'm sorry, Doctor.            I apologize for
5          interrupting.       But I guess -- I'm happy to go into a
6          conversation about this.             But I guess I have a
7          predicate question, which is I want to establish
8          whether it's true or not that the desistence studies
9          are based on prepubertal children diagnosed with
10         gender identity disorder as opposed to gender
11         dysphoria under the DSM-5?
12               A.     Well, older studies would certainly
13         necessitate that they use the diagnostic criteria
14         that was available at the time the study was
15         conducted.      And some of them -- and most of those
16         studies were the era prior to the revision of the
17         DSM-5 giving the gender dysphoria diagnosis.
18               Q.     Are you aware of any studies looking into
19         the desistence in prepubertal youth using the DSM-5
20         criteria?
21               A.     You know, that is an outstanding question
22         and I'm very happy to share with you the problems
23         with that question.          In the fact that because of
24         what has happened in the approach to the care of
25         these individuals, the opportunity because of the

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1          widespread adoption of the affirmation only approach
2          and the early adoption of social affirmation makes
3          it very challenging to be able to even put forward
4          as a hypothesis a study that would be able to
5          operate under the current diagnosis of gender
6          dysphoria.
7                               And I think that's very problematic
8          as we seek to understand the natural history of this
9          disease, and we seek to find ways to alleviate the
10         suffering that will be sustained long-term in these
11         individuals.       I think it's the fact that the
12         discussion is not allowed to occur and the studies
13         have not been proposed and conducted.                   And even if
14         they were, there would be challenges in the current
15         environment of really encouraging that social
16         affirmation approach.
17                              So the answer to the question is that
18         there are many problems that currently exist as to
19         why those studies have not been reported and would
20         be very difficult to perform at this point in time,
21         yet would be essential to providing the best care
22         for these individuals.
23               Q.     Okay.     But you do not know of any studies
24         documenting an 85 percent desistance rate for kids
25         diagnosed -- prepubertal kids diagnosed with gender

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1          dysphoria mode in the DSM-5?
2                A.     I'm not aware the question has actually
3          been investigated by a scientific trial.                    Not that
4          there's data that says it doesn't exist, but that it
5          has not been investigated.              The only data that's
6          available right now are people that have received
7          that social affirmation which clearly shows that
8          that demographic has changed.               And, you know, if you
9          ask this as a hypothesis --
10               Q.     I appreciate that, Dr. Hruz.                We'll get to
11         the demographic changes later on.                 But I want to
12         stay focused.        So going back, the studies have to
13         do -- the studies in desistance that you reference
14         have to do with prepubertal children; is that right?
15               A.     The ones that were done previously that
16         I'm referring to dealt with prepubertal children.
17         Now, there's another component of this, that of --
18         you divided this between prepubertal and adults.
19         And it's very necessary if we're going to adequately
20         address this question to consider what happens
21         during the period of puberty.
22               Q.     Okay.     Are there studies that document
23         desistence during the period of puberty?
24               A.     There are case reports.              There are not --
25         and there's a growing -- this gets at the --

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1                Q.     In your report you state that case reports
2          are not valid scientific evidence.
3                A.     They are useful for hypothesis generation.
4          They're not useful for making definitive causal
5          conclusions.       That is correct.
6                Q.     So are there any studies showing high
7          desistence among adolescence diagnoses with gender
8          identity disorder?
9                A.     There are not.          And the reason for that,
10         again, is because in many of the studies where one
11         looks at this, there's a very, very high dropout
12         rate in many of the subjects where one can't
13         conclude at all what the outcomes were.                    Based upon
14         the available evidence, more by case reports of
15         growing number of people experiencing this
16         desistence, that did occur when it's experienced
17         post pubertally would lead one to raise hypotheses
18         to be investigated in a rigorous scientific manner
19         to address that question.
20               Q.     You believe that all medical treatment
21         needs to be subjected to randomized clinical trial?
22               A.     It depends on -- so every medical decision
23         that is made is based upon consideration of the
24         overall risk and the overall benefit.                   And I think
25         that the greater the risk, the greater the scrutiny

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1          are certainly --
2                Q.     But that's just a hypothesis; is that
3          right?
4                A.     You know, all along here, I've been
5          tell -- I've been stating, and I hope very clearly,
6          that much of my opinion is based upon hypotheses and
7          alternative hypotheses, because there is no
8          definitive answer to this question.                  But the
9          prevailing current hypothesis that's not presented
10         as a hypothesis, it's presented as an established
11         fact, is that gender-affirming interventions are the
12         solution to gender dysphoria.               And that is what I
13         challenge.      And that is what, I think, is very
14         important for this court to understand, is that the
15         scientific evidence does not support that as being a
16         cure for all of the difficulties that these
17         individuals are experiencing.
18               Q.     Going back to the desistence studies.
19         What is the error rate for the desistence studies
20         that you rely on?
21               A.     So the error rate is -- there's a number
22         of factors.      I'm glad that you brought this up as
23         far as, you know, how we think about the reliability
24         of studies.      So this is a problem throughout the
25         literature.      And I've addressed this in my

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1                Q.     (By Mr. Gonzalez-Pagan)              Are you aware
2          that the American Psychiatric Association opposes
3          reparative therapy efforts regarding gender
4          identity?
5                A.     Now we're into a new line of questioning
6          about medical societies.             But I'm aware of -- of the
7          general recommendations for affirmation only.                      That
8          is entirely consistent with what has been put
9          forward by WPATH, American Psychological
10         Association.       There's a little bit more caveat in
11         the Endocrine Society guidelines.                 I think they're a
12         little bit more cautious in the prepubertal
13         children, at least in the 2009 document cautioned
14         against social affirmation in recognition of the
15         same desistence literature that I'm referring to.
16         Again, not just my opinion.              This is the
17         professional societies in the 2009 guidelines
18         acknowledged those studies of being relevant to that
19         consideration of treatment.
20               Q.     Sorry.      I just don't want us to go down a
21         different path.        I'm not talking about the general
22         position statement about gender-affirming care.                      I
23         am talking about the physician statements regarding
24         conversion therapy.          Are you aware that the American
25         Psychiatric Association opposes conversion therapy

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1          eff -- conversion therapy efforts?
2                A.     The reason I answered in the way I did to
3          your previous question was not to evade the
4          question.     It was merely to -- you began with a
5          professional association.             And so it's necessary to
6          acknowledge what the basis of those statements are.
7          The APA recommends the affirmative approach to care.
8                Q.     Okay.     But that's not my question.                 That
9          is a different position statement.                  And I'm glad --
10         yeah, the APA does do that.              But does the American
11         Psychiatric Association also have a position
12         statement regarding conversion therapy?
13               A.     Okay.     Thank you.        Because you used the
14         word "conversion therapy" for the first time.                       I
15         think it's very important for us to acknowledge when
16         we're talking about reparative therapy and what
17         people talk about as far as conversion therapy.
18         That's actually a pejorative term that actually is
19         trying to equate these efforts to realign gender
20         identify with sex to a completely different
21         condition related to same sex attraction with
22         methods that virtually everyone would recognize as
23         being unethical.
24                              And so I think it's an injustice
25         to -- and the statements are often made in the

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1          literature published talking about conversion
2          therapy.
3                Q.     All right.        One second.        Let's just go --
4          let's just go to Page 49 of your report,
5          Paragraph 52.
6                A.     Sorry.      Paragraph 52?
7                Q.     Yeah.     So very last sentence going into
8          the next page of your report states:                   The first
9          approach often referred to as conversion or
10         reparative -- reparative therapy --
11               A.     Correct.
12               Q.     -- is directed to or actively supporting
13         and encouraging children to identify with their
14         biological sex.
15                              Did I read that correctly?
16               A.     I could add often incorrectly referred to
17         as conversion therapy.            I think that's probably
18         something I could have added to my declaration to
19         indicate that.        I think it's incorrect and an
20         injustice to use that term to describe the approach
21         to -- to addressing gender dysphoria.
22               Q.     Are you aware that the American -- you
23         know what, let's -- I apologize.                 I forgot the stamp
24         again.     It is marked Exhibit 10.              Do you see that?
25                                     (Whereupon Exhibit 10 was

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1                                      introduced for identification.)
2                A.     Correct.       I see this.
3                Q.     (By Mr. Gonzalez-Pagan)              Okay.     Under the
4          position heading at the bottom of the page, in
5          Paragraph 2, it states:            APA recommends that ethical
6          practitioners respect the identity for those with
7          gender diverse expression.
8                               Did I read that correctly?
9                A.     I'm in the wrong paragraph.                You said the
10         second paragraph?
11               Q.     Under -- under the heading position at the
12         bottom of the page?
13                      MR. KNEPPER:         Omar, I think you made -- I
14               think you swapped gender and diverse.                    But it's
15               just -- in other words, I think you read gender
16               diverse expression and it's diverse gender
17               expression.
18               Q.     (By Mr. Gonzalez-Pagan)              Sure.     Let me
19         just read that again.           Are you there?
20               A.     I'm here.       Okay.      I'm sorry.        I was
21         reading the introductory paragraph.                  Sorry.
22               Q.     Okay.     It states, Paragraph 2, quote:                APA
23         recommends that ethical practitioners respect the
24         identity for those with diverse gender expressions.
25                              Did I read that correctly?

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1                A.     Yes.
2                Q.     Then just below that on Paragraph 3 on the
3          next page, it states, quote:               APA encourages
4          psycho -- psychotherapies which affirm individual's
5          sexual orientations and gender identities.
6                               Did I read that correctly?
7                A.     Yes.
8                                      (Whereupon Exhibit 11 was
9                                      introduced for identification.)
10               Q.    (By Mr. Knepper)          Showing you what's been
11         marked as Exhibit 11.
12               A.     I see it.
13               Q.     Okay.     This is a resolution by the
14         American Psychological Association on gender
15         identity change efforts.             Is that right?
16               A.     That's the title of this document,
17         correct.
18               Q.     It's dated February 2021; is that correct?
19               A.     That's correct.
20               Q.     Go to the second page, third to last
21         paragraph on the right-hand side column.                    And it's
22         use of GICE as an acronym for gender identity change
23         effort; is that right?
24               A.     I see that, yes.
25               Q.     It reads:       Whereas, GICE has not been

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1          shown to alleviate or resolve gender dysphoria
2          (Bradley and Zucker, 1997; Cohen-Kettenis & Kuiper,
3          1984; Gelder and Marks, 1969; Greenson, 1964; Pauly,
4          1965; and SAMHSA, 2015).
5                               Did I read that right?
6                A.     You did.
7                Q.     If you go to Page 3, the last two
8          paragraphs, on the right-hand side column, it
9          states:     Be it therefore resolved, that consistent
10         with the APA definition of evidenced-based practice
11         (APA 2005), the APA affirms that scientific evidence
12         and clinical experience indicates that GICE put
13         individuals at significant risk of harm.
14                              Be it further resolved that the APA
15         opposes GICE because such efforts put individuals at
16         significant risk of harm and encourages individuals,
17         families, health professionals, organizations to
18         avoid GICE.
19                              Did I read that correctly?
20               A.     You did.
21               Q.     Okay.     So the American Psychiatric
22         Association and the American Psychological
23         Association both oppose reparative therapy as a form
24         of treatment; is that right?
25               A.     Gender identity change efforts as stated

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1          in the document, which again is different than what
2          people generally equate with conversion therapy, in
3          quotes.
4                Q.     And the American Psychiatric Association
5          and the American Psychological Association consider
6          gender identity change efforts to be unethical and
7          harmful; is that right?
8                A.     That's what's stated in these documents.
9                Q.     All right.        I will apologize in advance,
10         that exhibit is large and will make navigating it a
11         little difficult.         Hopefully it will take a little
12         bit longer to upload.
13                                     (Whereupon Exhibit 12 was
14                                     introduced for identification.)
15               Q.     (By Mr. Gonzalez-Pagan)              Showing you
16         what's been marked as Exhibit 12.                 It's a document
17         entitled Understanding the Well Being of LGBTQI Plus
18         Population.      Is that right?
19               A.     That's the title in the document that I'm
20         looking at, yes.
21               Q.     It appears to have been published in 2010;
22         is that right?
23               A.     It says 2020.
24               Q.     Sorry.      2020.
25               A.     Okay.

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1          correctly.      And that many of the studies that are
2          referenced here have major methodologic weaknesses
3          and the strength of the statement based upon that
4          evidence in light of the emerging evidence that is
5          coming forward, for example, in the other studies
6          that we've discussed already today --
7                Q.     Well, let's --
8                A.     -- this conclusion can be scrutinized.
9                Q.     Let's move to the next page.                The
10         highlighted statement reads:               The available evidence
11         suggests that sexual orientation and gender identity
12         conversion efforts were ineffective and dangerously
13         detrimental to the health of SGD population,
14         especially for minors who are unable to give
15         informed consent.
16                             Did I read that correctly?
17               A.     I'll say again, you read it correctly.
18         And the meaning of that statement and context of the
19         whole paper is something that we can discuss later.
20               Q.     Would you agree that it is the position of
21         the National Academies of Sciences, Engineering and
22         Medicine that conversion therapy is harmful?
23                      MR. KNEPPER:         Objection, form.
24               A.     I don't know whether the small panel of
25         people that were included in generating this

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1          consensus statement represents the entire views of
2          the entire membership of that society.                    I know from
3          my own experience that for the other societies that
4          I'm involved with these types of consensus
5          statements are not brought to the entire membership
6          of the organization.           I can only conclude that the
7          members that were present on this panel made those
8          conclusions.       I would not go as far as to say that
9          it was supported by every member or even majority or
10         even substantial number of the rest of that group.
11               Q.     (By Mr. Gonzalez-Pagan)              If you go to the
12         fourth page of the PDF.
13               A.     Back up to the top now?              Okay.
14               Q.     On the last sentence, the second clause,
15         it states:      It represents the position of the
16         National Academies on the statement of facts; is
17         that right?
18               A.     That is what is stated here, and that is
19         also stated by other organizations that have put
20         forward similar statements.              The same concern
21         applies, that just because they put it forward, it
22         does not mean that -- that the entire membership has
23         been able to weigh into this question or those that
24         wish to do so.
25               Q.     Was the review that you referenced in

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1                A.     You know, again I don't have the answer.
2          I don't know.
3                Q.     Okay.     Are you aware that in the United
4          Kingdom, medical and surgical care is provided for
5          transgender adolescents post puberty and for
6          transgender adults?
7                       MR. KNEPPER:         Objection to form.
8                A.     I guess I didn't understand the question
9          there.
10               Q.     (By Mr. Gonzalez-Pagan)              Sure.
11                                     (Simultaneous speakers.)
12               Q.    (By Mr. Gonzalez-Pagan)              You talk about --
13         you talk about the reviews in the United Kingdom, in
14         Finland and in Sweden.            So I'm curious, are you
15         aware -- are you aware whether in the national
16         health system in the United Kingdom, they provide
17         coverage and treatment for gender dysphoria in post
18         prepubertal adolescents and adults?
19               A.     So I think it's reflected in the recent
20         Tavistock versus Bell decision.                It is recognized
21         that this is an area of controversy and that is an
22         unsettled question about --
23               Q.     Well, the Tavistock decision has to do
24         with minors.       I'm talking about adults and cross-sex
25         hormones and surgery.           Are you aware whether in the

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1          United Kingdom they provide coverage and treatment
2          of cross-sex hormones and surgery as a modality of
3          treatment for gender dysphoria?
4                  A.      Yes, I do.
5                  Q.      Okay.     Same question with regards to
6          Sweden?
7                  A.      Sweden -- again, I'm a pediatric
8          endocrinologist.           And I think that the caution that
9          is put forward in relegating this care to the
10         setting of -- of an experimental setting is where
11         it's been pulled back with concerns based upon
12         the --
13                 Q.      The restrictions to which you speak all
14         relate to the provision of puberty blockers; is that
15         right?
16                 A.      No.     I think it's more extensive than
17         that.        But it -- it acknowledges that based upon the
18         literature that there's not very stong evidence and
19         then instructs that this care be delivered with the
20         safeguards exactly as I'm saying, you know, it
21         should be done here in the United States.
22         Recognizing that this is --
23                 Q.      That's in the context of minors, though;
24         is that right?
25                         MR. KNEPPER:       Objection, form.

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1                A.     Again, that's what I've addressed in my
2          declaration.       And that is my --
3                Q.     (By Mr. Gonzalez-Pagan)              But with regards
4          to transgender adults in Sweden, does the
5          nationalized healthcare system in Sweden provide
6          coverage and treatment for gender dysphoria in the
7          form of hormones and surgical care?
8                A.     You know, I would say this is outside the
9          scope if we're getting into a discussion about
10         insurance coverage.          My expertise is in looking at
11         the scientific data about the affirmation and
12         other --
13               Q.     Well, you rely on the national reviews of
14         Sweden, Finland, and the United Kingdom.                    So --
15               A.     Correct.
16               Q.     -- I'm wondering if you rely on the
17         national reviews, I think it's pertinent and
18         relevant whether you disclose in your report that
19         these countries provide for the treatment and
20         coverage of this care?
21                      MR. KNEPPER:         Objection, form, scope.
22               A.     As a pediatric endocrinologist and
23         physician scientist, my service to this court is not
24         to opine upon -- I know it's a big part about this
25         case about insurance coverage.                My role in this

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1          gender-affirming treatment for adults?
2                A.     Again, I would have to say for me to
3          comment specifically about that, we would need to
4          have the document in front of me to be able to look
5          through all of the papers.              It was a very extensive
6          study.     And there are a number of papers there.
7                              And so I would have to look through
8          the papers to specifically look at the inclusion
9          criteria, whether it was exclusively in kids or
10         included adults and, again, how he defined, you
11         know, adulthood, whether it's post prepubertal, post
12         18, early 20s.        You know, many people have different
13         definitions of that.           And so --
14               Q.     All right.        Same line of questioning with
15         regards to Finland.          Did you disclose that Finland
16         provides through its national -- nationalized health
17         care system gender-affirming treatment for gender
18         dysphoria for adults?
19                      MR. KNEPPER:         Objection, form, scope.
20               A.     I'm going to state again that for me to
21         opine on that, I would need to look at, in those
22         studies, what the inclusion -- inclusion criteria
23         and whether it extended into adulthood.
24               Q.     (By Mr. Gonzalez-Pagan)              My -- my -- my
25         question is not pertinent to the report.                    It's not a

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1          question of whether they reviewed it.                   It's a
2          question whether that care is provided in Finland.
3                       MR. KNEPPER:         Objection, form.
4                A.     I will say again that this is a question
5          related to insurance coverage.                And I'm a pediatric
6          endocrinologist, physician scientist opining on
7          issues of science, not on medical coverage.
8                Q.    (By Mr. Gonzalez-Pagan)              One moment,
9          please.     Let's take a -- well, actually no.                     We'll
10         come back.      In your report you disclose the Bell v.
11         Tavistock position; is that right?
12               A.     That's correct.
13               Q.     That was a decision from December 2020 in
14         the United Kingdom?
15               A.     Correct.       And it was before the appeals
16         court decision came out recently.
17               Q.     And you submitted an expert report in
18         Tavistock; is that right?
19               A.     In that Bell versus Tavistock case, I did.
20               Q.     Are you aware that the Bell v. Tavistock
21         case dealt solely with the ability of a minor to
22         provide informed consent on their own?
23                      MR. KNEPPER:         Objection to form.
24               A.     So the decision was based on that.                     But
25         that was not what I was opined [sic] to comment on.

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1          there's no indication here that this was a
2          peer-reviewed document.            It wasn't published in a
3          journal in the typical way that we do it.                     So it's a
4          Council for Choices -- recommendations of the
5          Council for Choices in Healthcare in Finland.                      So
6          this is -- the council itself came to this
7          conclusion to answer your question.
8                Q.     Let's go back to Exhibit 12.
9                A.     I'm there.
10               Q.     All right.        We're going to go to
11         Page 12-10.      It is Page 311 of the PDF.
12               A.     I wish there was a way you could just type
13         in the number and get to it.
14               Q.     Don't we all.
15               A.     Okay.     This is with the section that's
16         titled Guidelines and Policies Related to
17         Gender-Affirmation?
18               Q.     That's right.
19               A.     Very good.
20               Q.     The highlighted statement states:
21         Clinicians who provide gender-affirming psychosocial
22         and medical services in the United States are
23         informed by expert evidence-based guidelines.                      In
24         2012, the World Professional Association for
25         Transgender Health, WPATH, published Version 7 of

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1          the Standards of Care for the Health of Transgender,
2          Transsexual, and Gender-Nonconforming People, which
3          have been continuously maintained since 1979, and
4          revisions for Version 8 are currently underway
5          (Coleman, et al., 2012).             Two newer guidelines have
6          also published -- have also been published by the
7          Endocrine Society (Hembree, et al., 2017), and the
8          Center of Excellence for Transgender Health (UCSF
9          Transgender Care, 2016).             Each set of guidelines is
10         informed by the best available data and is intended
11         to be flexible and holistic in application to
12         individual people.          All of the guidelines recommend
13         psychosocial support in tandem with physical
14         interventions and suggest timing interventions to
15         optimize an individual's ability to give informed
16         consent.     Mental and physical health problems need
17         not be resolved before a person can begin a process
18         of medical gender-affirmation, but they should be
19         managed sufficiently such that they do not interfere
20         with treatment.
21                              Did I read that correctly?
22               A.     You indeed read that correctly.
23               Q.     Okay.     This is a consensus study report by
24         the National Academies of Sciences, Engineering and
25         Medicine of the United States; is that right?

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1                record.      This is Media Unit No. 5.               The time is
2                4:05 Eastern time.
3                Q.    (By Mr. Gonzalez-Pagan)              Dr. Hruz, one of
4          the critiques in your report is that puberty
5          blockers have not been approved by the FDA as a
6          treatment for gender dysphoria; is that right?
7                A.     That is correct.           Although it's important
8          to understand why that is a relevant piece of
9          information.
10               Q.     Well, let's go to page 50 of your report.
11               A.     I'm there.
12               Q.     Okay.     On the -- there's a number of
13         statements that you bold and italicize, but on the
14         third -- the sentence involving the third bold and
15         italics.
16               A.     Okay.
17               Q.     It's like in the middle of the page.                  It
18         states:     The off-label prescription of this drug is
19         legal but unethical outside the setting of a
20         carefully controlled and supervised clinical trial.
21                              Did I read that correctly?
22               A.     You did.
23               Q.     And why is that?
24               A.     So, again, this relates to the statements
25         that are made that these drugs are known to be safe

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1          in this patient population.              And we really don't
2          have the scientific evidence to make that statement.
3          Because it's unknown what the -- some of the effects
4          are known, but many of the effects are unknown, to
5          be able to expose people to this intervention, not
6          only to expose them to that, but to make the
7          statement that it is known to be safe with that
8          absence of evidence, it really finds itself outside
9          of what I'd consider ethical.
10               Q.     Just for clarify, what do you understand
11         "off-label" use to mean?
12               A.     Oh, it's actually very common in the area
13         of pediatrics.        It's to prescribe a medication for
14         something that it has not been FDA approved.                       So it
15         could be for another -- a drug that's approved for
16         one purpose and using it for another purpose.                       Most
17         often that's how it's used.
18               Q.     Have you personally ever prescribed any
19         drugs on an off-label basis?
20               A.     Very frequently do.
21               Q.     Do you do so even in the absence of
22         randomized clinical control trials?
23               A.     Usually when I prescribe them off-label,
24         there are randomized controlled trials in different
25         populations that I turn to.              I look at the relative

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1          risk and -- but I don't make the statement that we
2          know with definity [sic] about the safety of a
3          medication in a way that we don't have that
4          information.
5                Q.     And you said usually.             So there are times
6          when you prescribe off-label drugs even in the
7          absence of clinical controlled randomized trials?
8                       MR. KNEPPER:         Objection, form.
9                A.     Usually when I'm prescribing it, what we
10         would consider off-label most often, it is for a
11         condition that is not markedly different for the use
12         that it is being given only that it had been
13         approved most often for adults rather than children.
14               Q.    (By Mr. Gonzalez-Pagan)              And clinical
15         control trials are actually relatively rare in the
16         pediatric population?
17               A.     No.     I would say that -- I mean, that's
18         the standard that's accepted especially for
19         medication use.        The reason why they're not done in
20         pediatrics is that usually there's a substantial
21         cost associated with that.              People are looking at
22         market share and, you know, how much it's going to
23         cost to be able to study that drug in that patient
24         population.        Yet it's already been studied in a
25         randomized control trial in a similar population

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1          without the same caveats that we consider when we
2          look at this question of pubertal blockade.
3                Q.     What is the FDA?
4                A.     The Food and Drug Administration.
5                Q.     Does the FDA regulate prescription drugs?
6                A.     Yes.
7                Q.     What is the FDA's decision with regards to
8          a prescription of off-label use of drugs?
9                       MR. KNEPPER:         Objection, form, scope.
10               A.     You know, I don't know that they have a
11         statement that there is an ethical responsibility
12         that all physicians who are prescribing off-label.
13         It also applies both to the prescribing physician
14         and it also applies to the pharmaceutical company
15         that's making the medication.
16                             If it's off-label, they cannot market
17         it to a group of people that it wasn't approved for.
18         Physicians that prescribe off-label medications
19         accept the responsibility, you know, for the risks
20         and benefits.       And they're obligated to inform their
21         patients of the evidence that they have, where it
22         comes from, and the basis for recommending that
23         medication.
24                             That's true for all medications, but
25         certainly when you're using it off-label, you know,

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1          it involves consideration of the indication, how
2          applicable the randomized control studies that have
3          been done to approve the drug are applicable to the
4          population that you're going to use it for.
5                                      (Whereupon Exhibit 14 was
6                                      introduced for identification.)
7                Q.    (By Mr. Gonzalez-Pagan)              Showing you what's
8          been marked as Exhibit 14.              Do you have that in
9          front of you?
10               A.     I do.
11               Q.     This appears to be a notice by the Food
12         and Drug Administration in the Federal Register
13         dated November 18, 1994, pertaining to a citizen
14         petition regarding the Food and Drug
15         Administration's policy on promotion of unapproved
16         uses of approved drugs and devices, request for
17         comments.
18               A.     I see that.
19               Q.     Did I -- did I describe the document
20         correctly?
21               A.     I've not read the entire document.                     But
22         that section that you read was read correctly.
23               Q.     Okay.     Going on to the second page.                  It's
24         a highlighted portion.            I will represent any
25         highlights in the document were done by me.                        And

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1          there are no other alterations to the document.
2                              The highlighted portion reads:                 Over
3          a decade ago, the FDA Drug Bulletin informed the
4          medical community that once a drug product has been
5          approved for marketing, a physician may prescribe it
6          for uses or in treatment regimens of patient
7          populations that are not included in approved
8          labeling.
9                              The publication further stated
10         unapproved, or more precisely unlabeled uses may be
11         appropriate and rational in certain circumstances
12         and may, in fact, reflect approaches to the drug
13         therapy that have been extensively reported in
14         medical literature.          Valid new uses of drugs already
15         on the market are often first discovered through
16         serendipitous observations and therapeutic
17         innovations, subsequently confirmed by well-planned
18         and executed clinical investigations.
19                             Did I read that correctly?
20               A.     You did, indeed.
21               Q.     Your report doesn't acknowledge that the
22         long-standing position of the FDA has -- with
23         regards to off-label use of drugs?
24                      MR. KNEPPER:         Objection, form.
25               A.     I would say that this paragraph that you

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1          read does not directly apply for the reason for my
2          consideration of this use of GnRH agonist in
3          pubertal adolescence for gender dysphoria is the
4          same.        And it's important to note in this paragraph,
5          it says the word "may."             It doesn't guarantee that
6          it is.        And it reflects the nature of the
7          application that one is providing.
8                                       (Whereupon Exhibit 15 was
9                                       introduced for identification.)
10                 Q.     (By Mr. Gonzalez-Pagan)            Introducing what
11         has been marked as Exhibit 15.                 Noted below, the
12         creator of the document is a printout of a web page
13         from the Food and Drug Administration's website.                        It
14         is titled Understanding and Approved Use of Approved
15         Drugs Off-Label.
16                                 Did I read the title of this web page
17         correctly?
18                 A.      Yes, you did.
19                 Q.      Okay.     Moving on to the second page,
20         there's a highlighted portion.                 I will stipulate for
21         the record that any highlights in this document were
22         inserted by me and that there are no other
23         alterations to the document.
24                                 The highlighted portion of the
25         document states:           From the FDA perspective, once the

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1          FDA approves a drug, healthcare providers generally
2          may prescribe the drug for an unapproved use when
3          they judge that it is medically appropriate for
4          their patient?
5                              Did I read that correctly?
6                A.     You indeed read it correctly.
7                Q.     Before opining as to whether the use of
8          off-label puberty blockers should be considered
9          unethical, did you review the positions of the FDA
10         with regards to off-label use?
11               A.     Again, I'm very, very familiar with that.
12         Maybe perhaps not these specific documents, but I --
13         this is entirely consistent with my understanding of
14         the off-label use of drugs.
15                                     (Whereupon Exhibit 16 was
16                                     introduced for identification.)
17               Q.    (By Mr. Gonzalez-Pagan)              Showing you what's
18         been marked as Exhibit 16.              I'll represent this is a
19         guidance for institutional review board for clinical
20         investigators published by the Food and Drug
21         Administration dated January 1998.                  It is titled
22         Off-Label, an Investigational Use of Marketed Drugs,
23         Biologics and Medical Devices.
24                             Did I represent the document
25         correctly?

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1                A.     You correctly read the title of this
2          document.
3                Q.     There is a highlighted portion in the
4          first page of the exhibit.              I'll represent that all
5          the highlights were added by me to that exhibit.
6          And there are no other alterations to the document.
7                              The highlighted statement reads:               If
8          physicians use a product for an indication not in
9          the approved labeling, they have the responsibility
10         to be well-informed about the product, to base its
11         use on firm scientific rationale and on sound
12         medical evidence, and to maintain records of the
13         product's use and effects.              Use of the marketed
14         product in this manner when the intent is the
15         practice of medicine does not require the submission
16         of an Investigational New Drug Application,
17         Investigational Device Exception or review by an
18         Institutional Review Board.
19                             Did I read that correctly?
20               A.     You read that section correctly.
21               Q.     Do you acknowledge this guidance of the
22         FDA in your report?
23               A.     You mean the statement that I made about
24         the ethics of prescribing the medication and the
25         need does not require that, but it does not mean

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1          that it's not the approach that should be done.                    So
2          that one -- for example, it's not malpractice and
3          one's not going to lose their license by prescribing
4          a medication off-label in this manner.
5                              However, when we look at the use of
6          this -- the GnRH agonist with a reference that I
7          made to the FDA off-label use involves product use
8          that is not the same as what it is used in the
9          treatment of prepubertal children and the risks
10         require -- and because of the risks of the
11         intervention and the lack of knowledge, it's very
12         different than many of the other times that I myself
13         have used off-labeled use of medications.
14                             So the statement itself is accurate.
15         It is consistent with my understanding of the FDA
16         guidelines for that.           And I think my statement in my
17         declaration fully reflects the reason why it is of
18         ethical concern in this case.
19                                     (Whereupon Exhibit 17 was
20                                     introduced for identification.)
21               Q.    (By Mr. Gonzalez-Pagan)              Showing you what's
22         been marked as Exhibit 17.              Are you familiar with
23         the American Academy of Pediatrics?
24               A.     I was a member of the American Academy of
25         Pediatrics for over 20 years.

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1                 Q.    This is a policy statement by that
2          organization titled Off-Label Use of Drugs in
3          Children; is that right?
4                 A.    That is the title of the statement, yes.
5                 Q.    I'll represent that there are highlights
6          within this document.           Those highlights have been
7          added by me.       And there are no other alterations in
8          the document.
9                              On the abstract in the highlighted
10         portion, it states:          However, off-label drug use
11         remains an important public health issue for
12         infants, children and adolescents, because an
13         overwhelming number of drugs still have no
14         information in the labeling for use in pediatrics.
15         The purpose of off-label use is to benefit the
16         individual patient.          Practitioners use their
17         professional judgment to determine these uses.                     As
18         such, the term "off-label" does not imply an
19         improper, illegal, contraindicated or
20         investigational use.           Therapeutic decision-making
21         must always rely on best available evidence, the
22         importance of the benefit for the individual
23         patient.
24                             Did I read that correctly?
25                A.    You read it correctly.              And I would

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1          comment that the very last sentence is at the heart
2          of my concern about how it's -- GnRH agonists are
3          being used in the setting of gender dysphoria.
4                 Q.    So is your critique that the use of GnRH
5          analogues [sic] for the treatment of gender
6          dysphoria is unethical because it's not the best
7          available evidence in your opinion?
8                 A.    There are many layers to the question.                    I
9          would say that many of the people that are
10         prescribing these drugs are not even aware of the
11         emerging evidence that is coming forward about lack
12         of efficacy and the risks of these medications.
13         They're relying on their decision based upon
14         statements made by many of the organizations that
15         you mentioned earlier that -- that are not
16         considering the relative risk-benefit analysis.                    And
17         so a provider, unless they've had the opportunity
18         like myself and others who have been familiar with
19         the literature, are going to be misled with the
20         assumption that this is the available evidence,
21         supports its use.
22                Q.    Well --
23                A.    Many of the people that are prescribing
24         these medications have not read those papers, not
25         considered those papers, not considered the poor

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1                 Q.   (By Mr. Gonzalez-Pagan)              Dr. Hruz, how did
2          you first come to be an expert in transgender
3          litigation?
4                 A.    Well, I think it was a recognition of my
5          knowledge of the -- of the subject area and -- that
6          I had in a number of different settings including
7          the grand rounds talks that I said previously and
8          some of the things that I've been discussing for the
9          last -- since almost ten years now.
10                Q.    Do you know what the Alliance Defending
11         Freedom is?
12                A.    Yes.
13                Q.    Have you met with staff from the Alliance
14         Defending Freedom in order to discuss how to serve
15         as an expert in cases involving transgender issues?
16                A.    My involvement was mostly to tap into my
17         knowledge and expertise in this area, to inform that
18         organization of some of the relevant issues.                       I've
19         never been coached on how to be an expert witness,
20         nor have I necessarily been encouraged in any way.
21         These requests have generally come from the
22         litigating lawyers, how they received my name or to
23         what extent and in what ways they became familiar
24         with my knowledge and expertise in this area is not
25         known to me.

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1                              Just like the other groups that I've
2          spoken to, I've been more than willing to be -- to
3          share the knowledge that I've accumulated over this
4          last decade in this area.
5                 Q.    Did you attend a meeting at the Alliance
6          Defending Freedom offices in Arizona in 2017?
7                 A.    I don't recall the exact date, but I did
8          travel to Arizona to meet with other individuals
9          that also had unique areas of expertise in the area,
10         yes.
11                Q.    Just to clarify, was that one or two
12         meetings?
13                A.    I think I've had two separate meetings.
14         The first was much shorter.              And the second one was
15         much more of presentations with actual data.
16                Q.    What was discussed in that first meeting?
17                A.    Again, it was many years ago.                 But my
18         recollection was just to understand what was going
19         on.    It was -- it was the same types of questions
20         about the care that is being proposed and offered.
21         But it was much less defined, I think, at that point
22         in time.     It was more of an informal type of
23         meeting.
24                Q.    Who was in attendance at that first
25         meeting?

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1                 A.    I suspected you were going to ask me.
2          And, you know, honestly I don't remember the exact
3          composition of the people that were there.                     If you
4          happen to know, I can acknowledge or deny whether
5          they were there or not.            But I've met literally
6          hundreds of people over the last ten years in
7          various settings.         I do know that at that first
8          meeting, Allan Josephson was there.                  And I believe
9          that Mark Ramirez was there as well.
10                Q.    Was Jeff Shafer there?
11                A.    Yes.     He actually at that time was working
12         for ADF.
13                Q.    Was Gary McCaleb there?
14                A.    Yes.     And he was one of the first contacts
15         I had from that group.
16                Q.    When they invited you to this meeting,
17         what was the invitation, what did they tell you it
18         was going to be about?
19                A.    They had desired to convene a group of
20         people that had knowledge in this area and to be
21         able to discuss that, is my recollection at that
22         point in time.
23                Q.    Was Ryan Anderson there?
24                A.    He was at one of the meetings, the two
25         meetings, I'm not sure which -- which one.

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1                 Q.    About how many people were in that first
2          meeting?
3                 A.    Probably about eight to ten if you include
4          Jeff Shafer and Gary McCaleb.               You know, no more
5          than a dozen, probably less than that.
6                 Q.    And the second meeting, you indicated that
7          it involved some presentations; is that right?
8                 A.    That's correct.
9                 Q.    Was it also in Arizona?
10                A.    Yes.
11                Q.    Who was present at the second meeting?
12                A.    Similar to the first meeting.                 And, again,
13         I may get mixed up, the first and second meetings.
14         There were different people that were present.                     I
15         know that Walt Heyer was at one of the meetings.
16         Oxy Horvath was at one of the meetings as well.
17         You'd have to give me the other names if there was
18         any.    I'm drawing a blank.            It was a while ago.
19                Q.    Was Mark Regnerus at the second meeting?
20                      THE COURT REPORTER:            I'm sorry.        What was
21                that name?
22                A.    He was only at --
23                      MR. GONZALEZ-PAGAN:            Mark Regnerus,
24                R-E-G-N-E-R-U-S.
25                A.    I believe he was at one of the meetings.

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1          I'm not sure which one.
2                 Q.    (By Mr. Gonzalez-Pagan)             Was Patrick
3          Lappert at one of these meetings?
4                 A.     He would have been likely at the second
5          meeting.
6                 Q.     Was Paul McHugh at any of those meetings?
7                 A.     No.
8                 Q.     Was Michelle Cortella at any of these
9          meetings?
10                A.     I've encountered Michelle at a number of
11         different settings.          I'm trying to think back.             I
12         honestly -- I just can't remember.                  She may have
13         been at one of them.
14                Q.     Was Quinton Van Meter at any of these
15         meetings?
16                A.     I have met with him.            I'm just trying to
17         think of what the circumstances and when he was
18         there.      Again, you know, I've met so many people
19         over many different years in many different venues.
20         It's challenging for me to remember who was in what
21         meeting.
22                Q.     Did the ADF lawyers discuss the need to
23         develop expert witnesses for litigation?
24                A.     Again since it was several years ago, I'm
25         trying to remember the exact content.                   I think the

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1          main focus was -- was understanding what was going
2          on to be able to understand from multiple different
3          perspectives.       One of the most helpful outcomes for
4          myself was the opportunity to talk to the
5          transitioners.        These are adults that have had the
6          experience of going through the affirmation approach
7          only to discover eight to ten years after that, that
8          it did not solve their problems.
9                              It was similar to my efforts to
10         connect with parents and -- that were experiencing
11         this with their children as part of my understanding
12         of the unique circumstances facing these
13         individuals.       That's what I walked away with more
14         than anything else.          Whether there was discussions
15         about, you know, whether there were -- were
16         litigation going on is -- I just don't recall.
17                Q.    Were you aware that the Alliance Defending
18         Freedom is a religious organization?
19                A.    I think that's -- if you travel to their
20         headquarters, that's hard to miss.
21                Q.    Let's go back to your report, Exhibit 1.
22         On the third page, Paragraph 7.
23                A.    We're on my expert report.                Okay.
24                Q.    Page 3, Paragraph 7.
25                A.    Thank you.        I'm going to go to my clean

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1          copy that I have printed out.               Okay.
2                 Q.    Okay.     It is mentioned that you also
3          spoken with parents of children experiencing gender
4          dysphoria and earlier you mentioned that you had
5          spoken with Eli Coleman; is that right?
6                 A.    That is correct.
7                 Q.    And Eli Coleman is one the authors of the
8          WPATH standards of the care; is that correct?
9                 A.    He's one of the lead authors, correct.
10                Q.    In Paragraph 7 you state that you have met
11         individually and consulted with several pediatric
12         endocrinologists including Dr. Norman Spack, who had
13         developed and led transgender programs in the United
14         States; is that right?
15                A.    That is correct.
16                Q.    Who's Norman Spack?
17                A.    Norman Spack was from Harvard.                 He was
18         actually probably the first person to introduce the
19         Dutch model of care to the United States.                     In the
20         latter years of his career, he became a very
21         outspoken advocate for that approach.                   In fact,
22         Dr. Spack was invited to Washington University very
23         early on when the question was being proposed to
24         start the gender center at Washington University.
25                Q.    And you discussed the treatment of gender

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1          dysphoria and transgender people with Dr. Spack?
2                 A.    That's correct.
3                                      (Whereupon Exhibit 19 was
4                                      introduced for identification.)
5                 Q.   (By Mr. Gonzalez-Pagan)              Showing you what's
6          been marked as Exhibit 19.
7                 A.    So this is the declaration for Norm Spack
8          for the Drew Adams case, correct?
9                 Q.    That's correct, yes.             Have you seen this
10         document before?
11                A.    I've heard of it.           I believe I saw that
12         during the -- my involvement in the Adams case.
13                Q.    He mentions that on or about October 19,
14         2014 -- sorry.        On Paragraph 8 of the declaration on
15         Page 2, he mentions that on or about October 9,
16         2014, he gave a presentation at St. Louis Children's
17         Hospital regarding the foundation of GeMS, the
18         workings of a gender management program at a
19         pediatric hospital, and in medical treatment and
20         care of gender and nonconforming and transgender
21         children and adolescents; is that right?
22                A.    Other than the word "gender" is
23         misspelled, yes.
24                Q.    It goes on to say on Paragraph 9 on the
25         next page that following the presentation, he met

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1          privately with medical staff including
2          endocrinologists at St. Louis Children's Hospital to
3          answer their questions and share his knowledge and
4          experience.
5                              He then goes on to say that he also
6          in that context met privately with you at St. Louis
7          Children's Hospital when you approached him after
8          the presentation.
9                              Do you recall that?
10                A.    I recall the meeting both with the
11         faculty -- I don't specifically remember the private
12         meeting afterwards.          I do remember we had kind of a
13         round table.       We actually sat around a circle with
14         other colleagues of mine and addressed questions.
15         But I -- it certainly would be in agreement with
16         where I was at that point in time in an
17         understanding for the proposal for care involving
18         affirmation.
19                Q.    He goes on say that during his meeting
20         with you, you directly expressed that you had,
21         quote, a significant problem with the entire issue,
22         closed quote, and, quote, whole idea of transgender,
23         closed quote.       He then states that you followed up
24         these comments by stating, quote, for me it is a
25         matter of my faith, closed quote.

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1                              Do you recall making these statements
2          to Dr. Spack?
3                 A.    I do not.
4                 Q.    Do you deny making these statements to
5          Dr. Spack?
6                 A.    I do not recall making those statements.
7          And it really seems to be -- I'm not sure of the
8          context of the conversation, where that came from.
9          This was a time shortly after our institution was
10         considering the adoption of the affirmative care
11         model for starting their gender center.                    And very
12         clearly at that point in time, I was very early in
13         investigating the literature and I remember talking
14         with my colleagues at that very same time about the
15         questions that I had about the science, about some
16         of the statements that were being made.
17                             One of the questions that came up
18         related to some of the assertions about more in the
19         area of anthropology as far as a human being and
20         whether it was possible for one to change one's sex.
21         I recall that at that point in time, you know, the
22         people were just starting to make the comments like
23         in one of the other cases where Dr. Atkins would
24         make the statements gender is sex.                  And I certainly
25         challenged those assertions at that time.

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1                              So this is a period of discovery for
2          me.    And for me to make a definitive statement like
3          that is not really even logical from where I was at
4          that point in time.
5                 Q.    Are you familiar with the St. John Paul,
6          II, Bioethics Center?
7                 A.    Yes.
8                 Q.    Is St. John Paul, II, Bioethics Center a
9          religiously affiliated institution?
10                A.    I believe it is, yes.
11                Q.    Did you speak at the St. John Paul, II,
12         Bioethics Center in November of 2017?
13                A.    I'm not sure of the exact date.                  But I did
14         deliver a talk to that group.
15                Q.    During that talk, did you not state about
16         being transgender that, quote, in fact, probably
17         goes back to some of the early heresies in the
18         church, closed quote?
19                      MR. KNEPPER:         Objection, form, scope.
20                A.    You know, I'd have to see the context of
21         when that statement was made and how it was being
22         portrayed to that audience, whether it was in
23         response to a question with context that is not
24         included in your question.
25                             Again, as you mentioned, this was a

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